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                                          Office of the United States Trustee

                        In re: ICPW Liquidation                  Post-Confirmation Quarterly
                        Corporation, a California                     Operating Report
                        corporation, et al.

                        Chapter 11 Case No: Lead Case            Quarter Ending:     3/31/2020
                        No.: 1:17-bk-12408-MB
                        Jointly administered with:
                        1:17-bk-12409-MB



 Attorney/Professional - Name, Address,                       Person responsible for report - Name, Address,
 Phone & FAX:                                                 Phone & FAX:
 Samuel R. Maizel & Tania M. Moyron                           Matthew Pliskin
 DENTONS US LLP                                               3902 Henderson Blvd., Suite 208-336
 601 South Figueroa Street, Suite 2500                        Tampa, FL 33629
 Los Angeles, California 90017-5704                           Telephone: (917) 543-2568
 Telephone: (213) 623-9300
 Facsimile: (213) 623-9924
 Date Order was entered confirming   February 13, 2018
 plan
 Los Angeles, California 90017-5704
 Telephone:    (213)
 Disbursing Agent (if 623-9300
                      any) (Please   KCC LLC
 Facsimile:
 print)        (213)  623-9924
 Los Angeles, California 90017-5704
 Telephone:    (213) 623-9300
 Facsimile:
 SUMMARY OF    (213)  623-9924
                  DISBURSEMENTS     MADE DURING THE QUARTER
 Disbursements made under the plan              $1,054,027.64
 Other Disbursements                            $1,888,784.13
                        Total Disbursements $2,942,811.77



 Projected date of final decree                 TBD based on resolution of litigation.
 What needs to be achieved before a             None.
 final decree will be sought? (Attach a
 separate sheet if necessary)




Revised
)       December 2001           POST-CONFIRMATION STATUS REPORT (Page 1 of 2)                              USTLA-7
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 Narrative of events which impact upon             None.
 the ability to perform under the
 reorganization plan or other significant
 events that have occurred during the
 reporting period (Attach a separate
 sheet if necessary)

 Date last U. S. Trustee fee paid                  BANK STATEMENTS ATTACHED
 Amount Paid                                       $29,753.121

I declare under penalty of perjury that the information contained in the document is true, complete and correct.



 Date: 5/20/2020                                                    Signature of person responsible for this report


This report is to be filed with the U.S. Trustee quarterly until a final decree is entered. This report is for U.S.
Trustee purposes only. You may be required to file additional reports with the Bankruptcy Court.




1 The $29,753.12 payment to the US Trustee is not reflected in the bank statements attached to this report because the payment(s)
cleared on May 8, 2020.

Revised
)       December 2001            POST-CONFIRMATION STATUS REPORT (Page 2 of 2)                                              USTLA-7
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                                                             QUESTIONNAIRE
                                                                                                                                     YES*         NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
       the Plan of Reorganization during this reporting period?                                                                              x
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                             x
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                             x
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                 x


               *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

       The Debtor is current on all post-confirmation plan payments



                                                     INSURANCE INFORMATION
                                                                                                                                     YES         NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                                      x
2.     Are all premium payments current?
                                                                                                                         x
                *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

                                     No physical operation or location to insure, E&O Coverage is maintiained as stated below.



                                                                       CONFIRMATION OF INSURANCE
                                                                                                                                     Payment Amount    Delinquency
                        TYPE of POLICY              and            CARRIER                             Period of Coverage             and Frequency     Amount
Professional Liability Full Program - Underwriters at Lloyd's, London                               5/23/19-20                        8576.16 Annual       0




                         DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: _______TBD__________
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                                    CHAPTER 11 POST-CONFIRMATION
                                SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:                   ICPW Liquidation Corporation, a California corporation, et al.

Case Number:                 Lead Case No. 1:17-bk-12408-MB

Date of Plan Confirmation: 2/13/2018

                      All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                                      Quarterly         Post Confirmation Total
1.   CASH (Beginning of Period)                                            $             4,194,998.74 $            15,367,377.27


2.   INCOME or RECEIPTS during the Period                                  $                    16,297.70 $         2,295,962.32
                             NOTE : $34,217.78 of the PCT receipts were payments from BBI customers to be remitted to BBI
3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)              U.S. Trustee Quarterly Fees                     $                      5,200.00 $          132,074.18
          (ii)             Federal Taxes                                                                              100,000.00
          (iii)            State Taxes                                                                                 41,597.38
          (iv)             Other Taxes                                                                                      0.00
                                                                                                                               0
     b.   All Other Operating Expenses:                                  $                    1,048,827.64 $        4,127,265.62
                            Note: Includes $0 and $1,121,995.90 remitted to BBI
     c.   Plan Payments:
          (i)               Administrative Claims                        $                            0.00 $        1,282,400.39
          (ii)              Class One*                                                                0.00             55,516.47
          (iii)             Class Two                                                                 0.00                  0.00
          (iv)              Class Three                                                               0.00                  0.00
          (v)               Class Four                                                                0.00                  0.00
          (vi)              Trust Beneficiaries                                               1,888,784.13         10,656,000.88
                            (Attach additional pages as needed)
                            * Note: Re-issuance of payments already scheduled

     Total Disbursements (Operating & Plan)                                $                  2,942,811.77 $       16,394,854.92

1.   CASH (End of Period)                                                  $                  1,268,484.67 $        1,268,484.67
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                                                                           CHAPTER 11 POST-CONFIRMATION
                                                                           BANK ACCOUNT RECONCILIATIONS
                                                                         Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                                        Account        Account       Account                   Account           Account           Account          Account            Account
                                                                           #1             #2           #3                        #4                #5                #6               #7                 #8
Name of Bank:                                                       Signature Bank Signature Bank TD Bank                   TD Bank           TD Bank           TD Bank          TD Bank            TD Bank

Account Number:                                                         x0112             x0120               x4123             x3018             x9869             x9893             x4074             x4058
                                                                                      Excess Cash                           Operating
Purpose of Account (Operating/Payroll/Tax)                          Disbursment       Reserve             Disbursement      Reserve           Class 1 Reserve Tax Reserve        Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                                     Checking          Checking            Checking          Money Market      Money Market      Money Market     Money Market       Money Market

1. Balance per Bank Statement Beginning of period                        146,094.86        263,313.56           31,234.25        645,883.13        392,961.54        92,561.40      2,365,809.58        257,140.42
Deposits                                                               1,982,359.54              246.11      2,669,605.14          8,325.98            482.61           113.68          2,811.82            315.80
Withdrawals                                                               -4,271.94                         -2,471,832.50       -303,795.56                                         -2,365,809.58
1. Balance per Bank Statement                                          2,124,182.46        263,559.67          229,006.89        350,413.55        393,444.15        92,675.08          2,811.82        257,456.22
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                           2,124,182.46        263,559.67          229,006.89        350,413.55        393,444.15        92,675.08          2,811.82        257,456.22


Note: Attach copy of each bank statement and bank reconciliation.


Investment Account Information
                                                                       Current           Current             Current           Current           Current           Current           Current           Current
                   Bank / Account Name / Number                         Value             Value               Value             Value             Value             Value             Value             Value
N/A




Note: Attach copy of each investment account statement.
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                                                                           CHAPTER 11 POST-CONFIRMATION
                                                                           BANK ACCOUNT RECONCILIATIONS
                                                                         Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                                        Account        Account       Account                        Account             Account             Account             Account              Account
                                                                           #1             #2           #3                             #4                  #5                  #6                  #7                   #8
Name of Bank:                                                       Signature Bank Signature Bank TD Bank                        TD Bank             TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                                         x0112               x0120                x4123               x3018               x9869               x9893                x4074               x4058
                                                                                        Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)                          Disbursment         Reserve              Disbursement        Reserve             Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                                     Checking            Checking             Checking            Money Market        Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of period                      2,124,182.46          263,559.67           229,006.89          350,413.55          393,444.15          92,675.08             2,811.82          257,456.22
Deposits                                                                                           230.44           4,000.00            1,902.55              452.03             106.48                    3.23           295.79
Withdrawals                                                           -1,691,871.41                              -232,752.54           -4,000.00
1. Balance per Bank Statement                                            432,311.05          263,790.11                 254.35        348,316.10          393,896.18          92,781.56             2,815.05          257,752.01
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                             432,311.05          263,790.11                 254.35        348,316.10          393,896.18          92,781.56             2,815.05          257,752.01


Note: Attach copy of each bank statement and bank reconciliation.                0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00


Investment Account Information
                                                                       Current             Current              Current             Current             Current             Current              Current             Current
                   Bank / Account Name / Number                         Value               Value                Value               Value               Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
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                                                                           CHAPTER 11 POST-CONFIRMATION
                                                                           BANK ACCOUNT RECONCILIATIONS
                                                                         Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                                        Account        Account       Account                        Account             Account             Account             Account              Account
                                                                           #1             #2           #3                             #4                  #5                  #6                  #7                   #8
Name of Bank:                                                       Signature Bank Signature Bank TD Bank                        TD Bank             TD Bank             TD Bank             TD Bank              TD Bank

Account Number:                                                         x0112               x0120                x4123               x3018               x9869               x9893                x4074               x4058
                                                                                        Excess Cash                              Operating
Purpose of Account (Operating/Payroll/Tax)                          Disbursment         Reserve              Disbursement        Reserve             Class 1 Reserve Tax Reserve             Class 3 Reserve Class 4 Reserve

Type of Account (e.g. checking)                                     Checking            Checking             Checking            Money Market        Money Market        Money Market        Money Market         Money Market

1. Balance per Bank Statement Beginning of period                        432,311.05          263,790.11                 254.35        348,316.10          393,896.18          92,781.56             2,815.05          257,752.01
Deposits                                                                                           119.27         331,737.14          255,221.90              414.88              97.72                    2.97           154.44
Withdrawals                                                             -192,640.78                              -331,802.14         -331,737.14                                                                      -255,000.00
1. Balance per Bank Statement                                            239,670.27          263,909.38                 189.35        271,800.86          394,311.06          92,879.28             2,818.02             2,906.45
2. ADD: Deposits not credited
3. SUBTRACT: Outstanding Checks                                         -144,945.43
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                              94,724.84          263,909.38                 189.35        271,800.86          394,311.06          92,879.28             2,818.02             2,906.45


Note: Attach copy of each bank statement and bank reconciliation.                0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00


Investment Account Information
                                                                       Current             Current              Current             Current             Current             Current              Current             Current
                   Bank / Account Name / Number                         Value               Value                Value               Value               Value               Value                Value               Value
N/A




Note: Attach copy of each investment account statement.
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                                           CHAPTER 11 POST-CONFIRMATION
                                      CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                           Signature Bank
Account Number                                                         x0112
Purpose of Account (Operating/Payroll/Personal)                        Escrow
Type of Account (e.g., Checking)                                       Checking




 Check       Date of
Number     Transaction                           Payee                                 Purpose or Description   Amount
    1446       1/21/2020   ELIZABETH ROSNER                            Trust Distribution                            70.70
    1433       1/29/2020   DAVID WESSEL                                Trust Distribution                         4,201.24
    1656       2/12/2020   J ROSNER & N ROSNER TTEE                    Trust Distribution                       118,000.00
    1652        2/7/2020   Stanly M Junior 1998 Trust                  Trust Distribution                         6,366.54
    1657       2/19/2020   THE ORCUTT FAMILY TRUST                     Trust Distribution                        47,200.00
                           JEFFREY PADNOS & MARGARET PADNOS
    1658       2/12/2020   JTWROS                                      Trust Distribution                        46,538.75
    1659       2/18/2020   BENJAMIN L PADNOS                           Trust Distribution                        39,884.00
    1660        3/3/2020   CHARLES SCHWAB & CO INC                     Trust Distribution                        32,595.35
                           RICHARD KRONMAN & MAUREEN KRONMAN
    1662        3/2/2020   REVOCABLE TRST DTD 2/28/02                  Trust Distribution                        23,600.00
    1663       2/13/2020   Etrade Securities                           Trust Distribution                        19,285.44
    1664       2/18/2020   SEVEN SEVEN SEVEN EQ PTNRS                  Trust Distribution                        19,158.99
    1665       2/19/2020   RHONDA HOFFARTH                             Trust Distribution                        19,003.28
    1666       2/13/2020   VANE CLAYTON                                Trust Distribution                        18,855.22
    1667       2/20/2020   R D PETE BLOOMER                            Trust Distribution                        17,966.46
    1668       2/12/2020   DAVID L JACOBS                              Trust Distribution                        15,300.11
    1669       2/18/2020   HORIZON INVESTMENT L.P.                     Trust Distribution                        14,212.22
    1671       2/20/2020   CLAYTON WYOMING LLC                         Trust Distribution                        12,551.77
    1672       2/18/2020   TERRY JACKSON                               Trust Distribution                        12,460.80
    1673        3/4/2020   BILL MECK & TERESA MECK JT TEN              Trust Distribution                        12,400.99
    1674       2/14/2020   EMIL IANNACCONE TTEE UA DTD 9/16/2010       Trust Distribution                        11,800.00
                           JEFFREY F GERSH & ARIE J GERSH LIVING
    1675       2/14/2020   TRUST DTD                                   Trust Distribution                        11,800.00
    1676       2/13/2020   JEFFREY ORR                                 Trust Distribution                        11,800.00
                           RICHARD KRONMAN & IAN MATTHEW
    1677        3/2/2020   TRUSTEES FBO                                Trust Distribution                        11,800.00
    1678       2/18/2020   TERRY JACKSON TTEE                          Trust Distribution                        11,800.00
    1679        3/3/2020   Kronman Matthew & Associates                Trust Distribution                        11,495.08
    1680        3/2/2020   Steven Skalecki                             Trust Distribution                        11,351.60
    1681       2/13/2020   PATRICK W O'BRIEN                           Trust Distribution                        10,403.37
    1682       2/24/2020   MICHAEL A DIGREGORIO                        Trust Distribution                         9,439.97
    1683       2/11/2020   CHARLES H GIFFEN                            Trust Distribution                         9,135.01
    1684       2/14/2020   V JOSEPH STUBBS                             Trust Distribution                         8,871.49
                           MICHAEL ANTHONY DIGREGORIO TRUSTEE U/A
    1686       2/25/2020   DTD 03-31-00                                Trust Distribution                         8,220.11
    1687        3/4/2020   Joshua Benson                               Trust Distribution                         7,849.36
    1688       2/18/2020   BENJAMIN KING                               Trust Distribution                         7,788.00
    1689       2/12/2020   MURRAY MARKILES                             Trust Distribution                         7,726.87
    1690       2/13/2020   AAION PARTNERS INC                          Trust Distribution                         7,080.00
                           KRONMAN MATTHEW & ASSOC; TTE RICHARD
    1691        3/4/2020   KRONMAN                                     Trust Distribution                         6,490.00
    1692        3/3/2020   Kronman Matthew & Associates                Trust Distribution                         6,281.65
    1693       2/14/2020   MILWAUKEE DEF COMP BOARD TTEE               Trust Distribution                         5,767.36
    1694       2/20/2020   Clear Vista Select Opportunities Fund LP    Trust Distribution                         5,669.61
    1695       2/14/2020   Millennium Trust Company                    Trust Distribution                         5,428.00
    1696        3/3/2020   Kronman Matthew & Associates                Trust Distribution                         5,295.55
    1697       2/19/2020   JOHN MCILVERY                               Trust Distribution                         4,970.51
    1698       3/25/2020   DAVID WESSEL                                Trust Distribution                         4,908.37
    1701       2/14/2020   Hamill 1934 ITW Trust c/o Briair Hall LLC   Trust Distribution                         4,498.53
    1702       3/10/2020   JOSEPH D RYAN                               Trust Distribution                         4,484.00
    1703       2/13/2020   JONATHAN HODES                              Trust Distribution                         4,425.21
                           KRONMAN, MATTHEW & ASSOCIATES
    1704        3/2/2020   RETIREMENT TRUST                            Trust Distribution                         4,303.10
    1705       2/12/2020   MICHAEL GROSSMAN                            Trust Distribution                         3,927.48
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Number     Transaction                         Payee                                    Purpose or Description   Amount
    1706        3/3/2020 ELIZABETH    ROSNER
                         Kronman Matthew    & Associates                Trust Distribution                        3,831.69
    1707       2/12/2020 MARC S PESTER                                  Trust Distribution                        3,790.58
                         BRENT ALLEN FLETCHER TTEE; BRENT ALLEN
   1708        2/19/2020 FLETCHER REV TRUST U/A                         Trust Distribution                        3,743.73
   1709        2/11/2020 DOUGLAS S ROSE                                 Trust Distribution                        3,670.50
   1710        2/21/2020 B.A.T.B. LLC                                   Trust Distribution                        3,598.83
   1711        2/11/2020 MARK HAWKING                                   Trust Distribution                        3,598.83
   1713        2/11/2020 SCOTT GALER                                    Trust Distribution                        3,283.06
   1714        2/20/2020 Mark Grbic                                     Trust Distribution                        3,252.08
   1718        2/18/2020 GREG AKSELRUD                                  Trust Distribution                        3,078.43
   1719        2/11/2020 KEVIN DEBRE                                    Trust Distribution                        3,006.89
   1720        2/19/2020 SUSAN C CULLEN                                 Trust Distribution                        2,987.71
                         MLPF& S CUST FPO AMERICAN TRANS
   1724        2/19/2020 SPECIALISTS SEP                                Trust Distribution                        2,714.00
   1725        2/24/2020 RONALD J SCHUETTE                              Trust Distribution                        2,714.00
   1727         3/2/2020 EDMUND R T FLANIGAN                            Trust Distribution                        2,699.13
   1728        2/26/2020 EDWIN BALDRIDGE TTEE UA DTD 10/30/1992         Trust Distribution                        2,699.13
   1729        2/20/2020 RONALD D BLOOMER                               Trust Distribution                        2,633.54
   1730        3/12/2020 BILL Meck                                      Trust Distribution                        2,596.00
   1731        2/28/2020 ROBERT MEOTTLE                                 Trust Distribution                        2,571.85
   1732        2/13/2020 DENNIS TORRES & AVERI TORRES                   Trust Distribution                        2,541.67
   1733        2/21/2020 LESLIE C SCHUETTE                              Trust Distribution                        2,430.80
                         Restated Agreement of the Vane Clayton
                         Revocable Trust DTD 2/23/06 Vane & Cassandra
   1734        2/21/2020 Clayton TTEEs                                  Trust Distribution                        2,397.76
   1735        2/24/2020 Interactive Brokers                            Trust Distribution                        2,395.44
                         JOHN M JAMESON AND VICKIE ANN JAMESON
   1737        2/13/2020 TIC                                            Trust Distribution                        2,360.00
   1739        2/24/2020 PATRICK JUETTEN                                Trust Distribution                        2,282.56
   1740        2/13/2020 DENNIS TORRES & AVERI TORRES TRUST             Trust Distribution                        2,178.32
   1741        2/28/2020 CHARLES SCHWAB BANK TTEE                       Trust Distribution                        2,006.00

   1743       2/11/2020 HAROLD F SCHAFF & CHERYL A SCHAFF TTEES         Trust Distribution                        1,863.66
   1745        3/3/2020 THOMAS W. MASON & LISA L. MASON JT TEN          Trust Distribution                        1,863.66
                        HORACE DUNBAR HOSKINS JR & ANN REID
   1746       2/12/2020 KLEIN
                        HOSKINS  JT TEN LTD. ,LP
                              PARTNERS,                                 Trust Distribution                        1,799.40
                        C/O KEVIN R. KLEIN, GARY C. KLEIN & ANNE M.
   1747       2/24/2020 KLEIN PARTNERS                                  Trust Distribution                        1,799.40
   1748        3/3/2020   ROBERT F CHARLES JR                           Trust Distribution                        1,799.40
   1749       2/14/2020   Janne H. Runbough Living Trust                Trust Distribution                        1,799.40
   1750       2/19/2020   WILLIAM L BOETTCHER                           Trust Distribution                        1,799.40
   1751       2/11/2020   MCDERMOTT & BULL                              Trust Distribution                        1,781.91
                          HARVEY E GREEN TTEE
   1752       2/19/2020   HM GREEN FAMILY TRUST                         Trust Distribution                        1,770.00
   1753       2/12/2020   MLPF& S CUST FPO JOHN ST THOMAS IRRA          Trust Distribution                        1,770.00
                          DANIEL SHELLEY WARD FAMILY TRUST DTD 12-
   1754       2/19/2020   22-99                                         Trust Distribution                        1,697.05
   1755       2/11/2020   Miles Green                                   Trust Distribution                        1,652.00
   1756       2/24/2020   RYAN AZLEIN                                   Trust Distribution                        1,638.17
                          SCOTT WAYNE IRELAND & KRISTINA MARIE
   1758       2/13/2020   IRELAND JT TEN                                Trust Distribution                        1,578.58
   1759        3/3/2020   THOMAS W. MASON                               Trust Distribution                        1,573.31
                          GREGORY CURHAN TTEE; RANDI CURHAN
   1760       2/19/2020   TTEE                                          Trust Distribution                        1,552.36
   1761       3/12/2020   WILLIAM MECK                                  Trust Distribution                        1,518.80
   1763       2/19/2020   Tad Benson                                    Trust Distribution                        1,484.44
   1765       2/13/2020   Michael Sherman                               Trust Distribution                        1,416.00
   1766       2/12/2020   ROBERT B KRONMAN                              Trust Distribution                        1,416.00
   1767       2/12/2020   MARTIN H. SZUCS                               Trust Distribution                        1,345.20
   1768       2/19/2020   GREGORY AKSELRUD                              Trust Distribution                        1,341.37
   1770       2/13/2020   Mark R Gosman & Donna Gosman JTTEN            Trust Distribution                        1,250.80
   1771       2/12/2020   Christopher Barrett                           Trust Distribution                        1,244.90
   1772       2/25/2020   RONALD J SCHUETTE TTEE                        Trust Distribution                        1,242.54
   1773       2/11/2020   XIN GUO                                       Trust Distribution                        1,190.33
   1774        3/3/2020   TODD GITLIN                                   Trust Distribution                        1,187.92
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Number     Transaction                            Payee                               Purpose or Description   Amount
    1775       2/25/2020   ELIZABETH
                           ARTHUR       ROSNER
                                      GERRICK                         Trust Distribution                        1,180.00
    1776       2/20/2020   Daniel Corley                              Trust Distribution                        1,180.00
    1777       2/12/2020   JACK JACOB ROSNER                          Trust Distribution                        1,180.00
    1778       2/20/2020   KLEANTHI XENOPOULOS                        Trust Distribution                        1,180.00
    1780        3/4/2020   PATRICK LIN                                Trust Distribution                        1,180.00
    1781       2/20/2020   ROBERT C MICHLIN                           Trust Distribution                        1,180.00
                           SHAMSHA VELANI DORAN & KEITH DORAN
   1782        2/13/2020   COMM/PROP                                  Trust Distribution                        1,180.00
   1783        2/13/2020   SHAMSHA VELANI DORAN CUST FOR              Trust Distribution                        1,180.00
   1784         3/2/2020   ZVI M RHINE                                Trust Distribution                        1,180.00
   1785        2/14/2020   MICHAEL GRANT                              Trust Distribution                        1,145.52
   1788        2/13/2020   PUMA CAPITAL LLC M/M ACCOUNT - KOSSON      Trust Distribution                          976.19
   1789        2/12/2020   THOMAS R MCELROY                           Trust Distribution                          967.60
   1790         3/9/2020   VUONG TRAN                                 Trust Distribution                          944.00
   1791        2/13/2020   ROBERT BEDROS                              Trust Distribution                          931.82
                           HUBERT L BROWN III & ANNABELLE BROWN
   1792        2/12/2020   FOWLKES                                    Trust Distribution                          899.70
   1793        2/21/2020   Jonathan C Hamill                          Trust Distribution                          899.70
   1795        2/24/2020   ELI ARRIV                                  Trust Distribution                          848.51
                           GLEN K INGALLS & RENEE PACHECO TTEES
   1796        2/26/2020   U/A DTD                                    Trust Distribution                          827.79
   1798        2/13/2020   ANNALOUISE JAEGER & KEITH VERWOEST         Trust Distribution                          750.31
   1799        2/13/2020   Ying Ting Yang                             Trust Distribution                          738.68
   1801        2/18/2020   Gregory Ohara                              Trust Distribution                          708.00
   1802        2/19/2020   JOHN E ORCUTT & MARCIA ORCUTT JT TEN       Trust Distribution                          708.00
                           LINNEA E JOHNSON ROTH IRA COR CLEARING
   1803        2/25/2020   CUST                                       Trust Distribution                          708.00
   1804        2/13/2020   MSSB C/F FRED CATALANO                     Trust Distribution                          708.00
   1805        2/19/2020   Robert Forster                             Trust Distribution                          708.00
   1806        2/28/2020   SANFORD ROBERT PRICE                       Trust Distribution                          708.00
                           WILLIAM C MCCOMB ROTH IRA COR CLEARING
   1808        2/25/2020   CUST                                       Trust Distribution                          708.00
   1810        2/13/2020   KNUTE LEE                                  Trust Distribution                          610.93
   1811        2/25/2020   CHRIS JUETTEN                              Trust Distribution                          597.50
   1813        2/19/2020   VALORIE STANSBERRY                         Trust Distribution                          597.50
   1814        2/13/2020   AAION PARTNERS INC                         Trust Distribution                          590.00
   1815        2/25/2020   Merrill Lynch Pierce Fenner & Smith Inc.   Trust Distribution                          590.00
                           RAYMOND JAMES & ASSOCIATES INC. CUST
   1816        2/14/2020   FBO MAKARIOS PALIOS IRA (64223169)         Trust Distribution                          590.00
                           RAYMOND JAMES & ASSOCIATES INC. CUST
   1817        2/14/2020   FBO MAKARIOS PALIOS ROTH IRA (64087280)    Trust Distribution                          590.00
   1818        2/18/2020   Schacter Revoc Trust 2/5/98                Trust Distribution                          590.00
   1819        2/25/2020   MATTHEW LAUBERT                            Trust Distribution                          551.31
   1820         3/9/2020   Katherine Defevere                         Trust Distribution                          533.87
   1821        2/12/2020   LIANE LUNNY NEUHAUSER                      Trust Distribution                          531.00
                           CARL C HSU TTEE
                           DR CARL C HSU REV LIV TRUST
   1822        2/18/2020   U/A 7/3/96                                 Trust Distribution                          519.20
   1823        2/14/2020   Johnson Family Trust                       Trust Distribution                          472.00
   1825         3/5/2020   PHILIP WERTHMAN                            Trust Distribution                          472.00
   1826         3/4/2020   WILLIAM MECK & TERESA MECK JT TEN          Trust Distribution                          472.00
   1829        2/18/2020   THOMAS KENDALL                             Trust Distribution                          446.29
   1830        2/14/2020   DANIEL THOMAS GIEBER                       Trust Distribution                          396.69
   1831        2/24/2020   MELISSA DERBY                              Trust Distribution                          396.69
   1832        3/23/2020   MILWAUKEE DEF COMP BOARD TTEE              Trust Distribution                          359.92
   1833        2/11/2020   LOUIS WHARTON                              Trust Distribution                          355.20
   1834        2/13/2020   Alfred Venturini                           Trust Distribution                          354.00
   1835        2/14/2020   CHARLES E FRISCO JR                        Trust Distribution                          353.97
   1836        2/24/2020   MICHAEL CASEY HOCH                         Trust Distribution                          314.68
   1837        2/12/2020   BIRCH FAMILY TRUST                         Trust Distribution                          314.65
   1838        2/11/2020   HAROLD F SCHAFF                            Trust Distribution                          314.65
   1653        3/20/2020   Stephen Goodhue                            Trust Distribution                          314.65
   1840        2/14/2020   KIM WOODWORTH & BILL WOODWORTH             Trust Distribution                          306.80
   1841        2/13/2020   MSSB C/F ZACHARY J LEVY                    Trust Distribution                          306.80
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Number    Transaction                         Payee                                       Purpose or Description   Amount
                         ELIZABETH M
                         CHRISTIAN    ROSNER
                                        WARREN & BARBARA A                Trust Distribution
   1843      2/20/2020   BOIGEGRAIN JT TEN                                Trust Distribution                          295.00
   1844      2/14/2020   MILWAUKEE DEF COMP BOARD TTEE                    Trust Distribution                          283.20
   1845      2/20/2020   DAVID J COOK                                     Trust Distribution                          269.98
                         C NEUHAUSER CUST FOR C NEUHAUSER
   1846      2/19/2020   UNYUTMA UNTIL AGE 21                             Trust Distribution                          250.16
   1847      2/12/2020   BRIAN SHEENY                                     Trust Distribution                          238.97
   1848       3/4/2020   CRAIG STEPHEN WAGNER                             Trust Distribution                          236.00
   1849      2/12/2020   DAVID WOHL                                       Trust Distribution                          236.00
   1850      2/19/2020   Debra H Taylor                                   Trust Distribution                          236.00
                         GEORGE K CROCKETT
   1851      2/13/2020   VIRGINIA C CROCKETT                              Trust Distribution                          236.00
   1852      2/25/2020   GREG TOBIAS                                      Trust Distribution                          236.00
   1854       3/9/2020   JAMES E COLLINS                                  Trust Distribution                          236.00
                         PHTC Inc PFT SHG PLN UAD 12/30/94 John Cole
   1856      2/12/2020   TTEE                                             Trust Distribution                          236.00
                         Sidney Penchansky & Judith E Penchansky TTEES,
   1857      2/12/2020   Penchansky Family Tr                             Trust Distribution                          236.00
   1858      3/12/2020   JOHN D & MARGARET A ROGERS TTEE                  Trust Distribution                          235.97
                         GUARDIAN VENTURES INC C/O QUEST
   1859      3/17/2020   INTERNATIONAL MANAGEMENT CO                      Trust Distribution                          218.27
   1864      2/28/2020   ROBERT J KERR                                    Trust Distribution                          188.80
   1865      2/12/2020   JAMES F RAFFERTY                                 Trust Distribution                          181.53
   1866      3/10/2020   DAVID G HILL                                     Trust Distribution                          179.87
   1867      2/13/2020   JAMES R YOUNG                                    Trust Distribution                          179.87
   1868      2/14/2020   LISA CAROL DUDLEY                                Trust Distribution                          169.11
   1869      2/14/2020   MSSB C/F RICARDO L DESOTO                        Trust Distribution                          165.20
                         MICHAEL RAY COOPER & ELIZABETH KING
   1870      2/21/2020   COOPER JT TEN                                    Trust Distribution                          141.60
   1872      2/24/2020   PAUL C KENDALL                                   Trust Distribution                          141.60
   1873      2/18/2020   WILLIAM J LITWIN                                 Trust Distribution                          141.60
   1874       3/5/2020   ED WETHERBEE                                     Trust Distribution                          136.78
   1875      2/18/2020   CHRISTOPHER M HAZLITT                            Trust Distribution                          134.89
   1876      2/25/2020   MICHAEL R CICERO & WILLIAM M VEAZEY              Trust Distribution                          129.21
   1877      2/13/2020   STEVE FEDEA                                      Trust Distribution                          119.43
                         ALBERT W ROSS ROTH IRA COR CLEARING
   1878      2/19/2020   CUST                                             Trust Distribution                          118.00
   1879      2/12/2020   ALEX ROTONEN                                     Trust Distribution                          118.00
   1880      2/12/2020   CAROLE M. ORMISTON                               Trust Distribution                          118.00
   1881      2/12/2020   David Jacobs                                     Trust Distribution                          118.00
   1887      2/12/2020   ROBERT B KRONMAN                                 Trust Distribution                          118.00
   1888      2/20/2020   RONALD S WEAVER MD                               Trust Distribution                          118.00
   1889      2/18/2020   Scott LaPoff                                     Trust Distribution                          118.00
   1890      2/13/2020   KENNETH LAIBLE                                   Trust Distribution                          117.97
   1892      2/20/2020   CASEY E FOLKS JR. (DECD)                         Trust Distribution                          106.20
   1893      2/18/2020   CALVIN CHENG CHIEN & KAREN KUO CHIEN             Trust Distribution                           99.12
   1894       3/3/2020   ANDREW J CRYER                                   Trust Distribution                           94.40
   1895       3/5/2020   JAMES CHADWICK                                   Trust Distribution                           94.40
   1896      2/26/2020   KEVIN W MARSH                                    Trust Distribution                           94.40
   1897      2/13/2020   ROBYN CROWDER                                    Trust Distribution                           94.40
   1918       3/6/2020   SEAN S MATSUBAYASHI                              Trust Distribution                           87.32
   1921      2/12/2020   JOE WORDEN                                       Trust Distribution                           77.69
   1898      3/10/2020   Keala Wheeler                                    Trust Distribution                           74.50
   1900      2/13/2020   CARRIE LELO                                      Trust Distribution                           70.80
   1902      2/18/2020   ADRIANNA MEYER                                   Trust Distribution                           59.00
   1903      2/19/2020   BUD W BRUTSMAN PLEDGED TO ML LENDER              Trust Distribution                           59.00
   1904      2/18/2020   DAN WILLEY SPALT                                 Trust Distribution                           59.00
   1906      2/18/2020   TARBY BRYANT                                     Trust Distribution                           57.44
   1907      2/19/2020   BARBARA ASHTON                                   Trust Distribution                           47.20
                         DMITRI PECHERSKI & LIUDMILA PECHERSKI JT
   1909      2/18/2020   TEN                                              Trust Distribution                           47.20
   1914      2/13/2020   PHILLIP NUTTER & LYNNE M NUTTER                  Trust Distribution                           47.20
   1916       3/2/2020   MARK W FISCHER                                   Trust Distribution                           44.95
                         MARK D STOKES JR & DIANE P STOKES
   1922      2/12/2020   COMM/PROP                                        Trust Distribution                           43.66
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     1924       3/31/2020   ELIZABETH
                            Craig  White ROSNER                     Trust Distribution                                    35.40
     1925       2/14/2020   JOHN HOPPE                              Trust Distribution                                    35.40
     1930        3/5/2020   NATASHA H BEN                           Trust Distribution                                    25.46
EFT              2/7/2020   TD Ameritrade Inc - wire                Trust Distribution                               276,092.05
EFT              2/7/2020   Ronald Chez IRA                         Trust Distribution                               191,865.49
EFT              2/7/2020   Scott Jarus and Rebecca Jarus           Trust Distribution                               179,211.79
EFT              2/7/2020   Judy Frank                              Trust Distribution                               125,598.04
EFT              2/7/2020   THE SASSOLA III FAMILY TRUST            Trust Distribution                                47,200.00
EFT              2/7/2020   EDUARD ALBERT JAEGER                    Trust Distribution                                34,301.84
EFT              2/7/2020   UBS Financial                           Trust Distribution                                32,725.03
EFT              2/7/2020   JAEGER FAMILY LLC                       Trust Distribution                                32,220.41
EFT              2/7/2020   Athena Marks                            Trust Distribution                                17,936.00
EFT              2/7/2020   ERIC JAEGER                             Trust Distribution                                16,360.72
EFT              2/7/2020   Chez Family Foundation                  Trust Distribution                                 8,353.33
EFT              2/7/2020   MARILYN CHEZ DCSD IRA                   Trust Distribution                                 6,490.00
EFT              2/7/2020   Writser Pier Cleveringa                 Trust Distribution                                 5,144.80
EFT              2/7/2020   Ann Sofios Trust                        Trust Distribution                                 3,681.60
EFT              2/7/2020   Elizabeth Chez Bene Tr IRA              Trust Distribution                                 3,658.00
EFT              2/7/2020   MSSB C/F RONALD L CHEZ                  Trust Distribution                                 2,638.48
EFT              2/7/2020   Ilyse Markrack Bene Trust IRA           Trust Distribution                                 1,791.24
EFT              2/7/2020   Eden Macknin Bene Trust IRA             Trust Distribution                                 1,652.00
EFT              2/7/2020   Christopher Marks                       Trust Distribution                                 1,602.44
EFT              2/7/2020   Sue Glick IRA                           Trust Distribution                                 1,298.00
EFT              2/7/2020   Steven Glick Bypass Trust               Trust Distribution                                 1,014.80
EFT              2/7/2020   Fifth Third Trust Securities Services   Trust Distribution                                   953.44
EFT              2/7/2020   Sue Glick Survivors Trust               Trust Distribution                                   778.80
EFT              2/7/2020   Shana Larson                            Trust Distribution                                   708.00
EFT              2/7/2020   Andrea Simon                            Trust Distribution                                   708.00
EFT              2/7/2020   Marilyn J Chez Irrev Trust              Trust Distribution                                   590.00
EFT              2/7/2020   Ilyse Markrack                          Trust Distribution                                   195.88
EFT              2/7/2020   Eric Chez IRA                           Trust Distribution                                   118.00
     1931        3/6/2020   ARTHUR GERRICK                          Trust Distribution                                 4,175.00
     1932        3/4/2020   Joshua Benson                           Trust Distribution                                 6,718.52
     1934        3/4/2020   SCOTT ALDERTON                          Trust Distribution                                13,879.89
     1935        3/2/2020   Paul Lee                                Trust Distribution                                   472.00
     1936       3/10/2020   JOANNA ELLIOTT                          Trust Distribution                                   314.65

                                                                                                             TOTAL 1,888,784.13
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                                         CHAPTER 11 POST-CONFIRMATION
                             Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                Signature Bank
Account Number                                              x0112
Purpose of Account (Operating/Payroll/Personal)             Escrow
Type of Account (e.g., Checking)                            Checking




 Check       Date of
Number     Transaction                       Payee                          Purpose or Description   Amount
   1261         6/7/2018   AUSTIN RUIZ WATKINS              Trust Distribution                           83.50
   1067         6/7/2018   BRUCE G KLASS                    Trust Distribution                        9,549.90
   1156         6/7/2018   Cantor Fitzgerald & Co.          Trust Distribution                        1,633.43
   1077         6/7/2018   Goldman Sachs                    Trust Distribution                        8,350.00
   1125         6/7/2018   JAMES SEIBEL                     Trust Distribution                        3,618.39
   1209         6/7/2018   JOSHUA CRINKLAW                  Trust Distribution                          417.50
   1214         6/7/2018   JOSHUA LOUIS CAIN                Trust Distribution                          417.50
   1233         6/7/2018   KIMIKO ANN SNYDER                Trust Distribution                          208.75
   1185         6/7/2018   LOIS B MAY TTEE                  Trust Distribution                          751.50
   1252         6/7/2018   MIKE SALOMON                     Trust Distribution                          109.64
   1240         6/7/2018   MILES POTEAT EGGART              Trust Distribution                          167.00
   1205         6/7/2018   OWEN BENNETT MULLER              Trust Distribution                          417.50
   1250         6/7/2018   REYHEENA EIDARIUS                Trust Distribution                          125.25
   1157         6/7/2018   ROBERT C CLARK                   Trust Distribution                        1,591.68
                           ROBERT H KEELEY & SANDRA D
    1131       6/7/2018    KEELEY JT TEN                    Trust Distribution                        3,183.27
    1085       6/7/2018    SEGAL FAMILY TRUST               Trust Distribution                        6,593.91
    1167       6/7/2018    SSBT TTEE                        Trust Distribution                        1,068.80
    1087       6/7/2018    STANLEY M RUMBOUGH JR            Trust Distribution                         6366.54
    1362       2/5/2019    Alex Jin                         Trust Distribution                             835
    1375      9/16/2019    Alex Jin                         Trust Distribution                             202
                           BARBARA JOAN DEGEORGE & M
    1392      9/16/2019    DEGEORGE KELLY JT TEN            Trust Distribution                           161.6
    1400      9/16/2019    BRUCE G KLASS                    Trust Distribution                         2310.27
                           BUD W BRUTSMAN PLEDGED TO ML
    1401      9/16/2019    LENDER                           Trust Distribution                            50.5
                           CASEY E FOLKS JR. (DECD) BRYAN
    1409      9/16/2019    FOLKS (BENE)                     Trust Distribution                            90.9
                           CASEY E FOLKS JR. (DECD) DARYL
    1410      9/16/2019    FOLKS (BENE)                     Trust Distribution                            90.9
    1415      9/16/2019    CHERYL WASHINGTON                Trust Distribution                            40.4
                           DELTEC SPECIAL SITUATIONS
    1436      9/16/2019    PARTNERS LP                      Trust Distribution                         2677.91
    1441      9/16/2019    ED WETHERBEE                     Trust Distribution                          117.08
    1454      9/16/2019    Goldman Sachs                    Trust Distribution                            2020
    1470      9/16/2019    HUI-YA HSU                       Trust Distribution                             202
    1478      9/16/2019    JAMES SEIBEL                     Trust Distribution                          875.35
    1487      9/16/2019    JOHN JAMES DARNELL               Trust Distribution                           31.41
    1495      9/16/2019    JOSHUA CRINKLAW                  Trust Distribution                             101
    1496      9/16/2019    JOSHUA LOUIS CAIN                Trust Distribution                             101
    1503      9/16/2019    KIMIKO ANN SNYDER                Trust Distribution                           50.50
    1514      9/16/2019    KYLE EDLUND                      Trust Distribution                          605.07
    1520      9/16/2019    LOIS B MAY TTEE                  Trust Distribution                          181.80
    1523      9/16/2019    MARA ROSNER KEDEM CUST FOR       Trust Distribution                        1,010.00
    1538      9/16/2019    MICHAEL B JOHNSON                Trust Distribution                        1,999.17
                           MICHAEL R CICERO & WILLIAM M
    1542      9/16/2019    VEAZEY                           Trust Distribution                          110.60
    1545      9/16/2019    MIKE SALOMON                     Trust Distribution                           26.52
    1547      9/16/2019    MILES POTEAT EGGART              Trust Distribution                           40.40
    1549      9/16/2019    MILWAUKEE DEF COMP BOARD TTEE    Trust Distribution                          242.40
    1550      9/16/2019    MILWAUKEE DEF COMP BOARD TTEE    Trust Distribution                          308.07
    1551      9/16/2019    MILWAUKEE DEF COMP BOARD TTEE    Trust Distribution                        4,936.48
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   1561       9/16/2019 AUSTIN   RUIZ WATKINS
                        OWEN BENNETT       MULLER              Trust Distribution                          101.00
   1569       9/16/2019 PETER SEAMANS                          Trust Distribution                          649.96
                        PHTC Inc PFT SHG PLN UAD 12/30/94
   1572       9/16/2019 John Cole TTEE                         Trust Distribution                             202
   1579       9/16/2019 REYHEENA EIDARIUS                      Trust Distribution                            30.3
                        ROBERT H KEELEY & SANDRA D
   1591       9/16/2019 KEELEY JT TEN                          Trust Distribution                          770.08
   1608       9/16/2019 SEGAL FAMILY TRUST                     Trust Distribution                         1595.17
   1614       9/16/2019 SSBT TTEE                              Trust Distribution                          258.56
   1628       9/16/2019 The Vanguard Group                     Trust Distribution                         7256.83
   1629       9/16/2019 THE VERTICAL TRADING GROUP LLC         Trust Distribution                            1111
   1633       9/16/2019 THOMAS KENDALL                         Trust Distribution                             382
   1862        2/4/2020 ALAN HSU                               Trust Distribution                           188.8
   1654        2/4/2020 Alex Jin                               Trust Distribution                             236
                        ALL IN THE BEHL FAMILY LP A
   1700        2/4/2020 PARTNERSHIP                            Trust Distribution                         4498.53
   1901        2/4/2020 ANTHONY KEATS                          Trust Distribution                           61.12
                        BARBARA JOAN DEGEORGE & M
   1863        2/4/2020 DEGEORGE KELLY JT TEN                  Trust Distribution                           188.8
   1726        2/4/2020 BRUCE G KLASS                          Trust Distribution                         2699.13
   1762        2/4/2020 CANACCORD GENUITY INC                  Trust Distribution                         1498.34
   1827        2/4/2020 Cantor Fitzgerald & Co.                Trust Distribution                          461.66
                        CASEY E FOLKS JR. (DECD)
   1891        2/4/2020 BRYAN FOLKS (BENE)                     Trust Distribution                           106.2
   1908        2/4/2020 CHERYL WASHINGTON                      Trust Distribution                           47.20
   1927        2/4/2020 DAN R CHIER                            Trust Distribution                           33.04
                        DELTEC SPECIAL SITUATIONS
   1716        2/4/2020 PARTNERS LP                            Trust Distribution                        3,128.65
   1919        2/4/2020 ELIZABETH ROSNER                       Trust Distribution                           82.90
   1920        2/4/2020 ELIZABETH ROSNER                       Trust Distribution                            82.6
                        ERIC CARL HANSEN & TRACY LYNN
   1910        2/4/2020 HANSEN JT TEN                          Trust Distribution                            47.2
   1742        2/4/2020 Estate of DONALD P ELLIOTT             Trust Distribution                         1863.66
   1712        2/4/2020 Ethan Penner                           Trust Distribution                        3,540.00
   1736        2/4/2020 Goldman Sachs                          Trust Distribution                        2,360.00
   1655        2/4/2020 Guy Shamir                             Trust Distribution                        1,000.64
   1800        2/4/2020 HEIDI JAEGER                           Trust Distribution                          724.75
   1723        2/4/2020 HEIDI JAEGER TTEE                      Trust Distribution                        2,715.79
   1853        2/4/2020 HUI-YA HSU                             Trust Distribution                          236.00
   1787        2/4/2020 JAMES SEIBEL                           Trust Distribution                        1,022.68
   1923        2/4/2020 JOHN JAMES DARNELL                     Trust Distribution                           36.69
   1882        2/4/2020 JOSHUA CRINKLAW                        Trust Distribution                          118.00
   1883        2/4/2020 JOSHUA LOUIS CAIN                      Trust Distribution                          118.00
   1929        2/4/2020 KENT ASTLE                             Trust Distribution                           28.32
   1905        2/4/2020 KIMIKO ANN SNYDER                      Trust Distribution                           59.00
   1917        2/4/2020 KONRAD GATIEN                          Trust Distribution                           44.46
   1911        2/4/2020 LAURA B PANNIER                        Trust Distribution                            47.2
   1860        2/4/2020 LOIS B MAY TTEE                        Trust Distribution                           212.4
   1721        2/4/2020 M DIGREGORIO & A DIGREGORIO TT         Trust Distribution                            2832
   1779        2/4/2020 MARA ROSNER KEDEM CUST FOR             Trust Distribution                            1180
   1812        2/4/2020 MATTHEW JUETTEN                        Trust Distribution                           597.5
   1738        2/4/2020 MICHAEL B JOHNSON                      Trust Distribution                         2335.66
   1928        2/4/2020 MIKE SALOMON                           Trust Distribution                           30.98
   1912        2/4/2020 MILES POTEAT EGGART                    Trust Distribution                            47.2
                        Milwaukee Deferred Compensation Plan
   1855        2/4/2020 FBO THEOFILOS RAFAELIDYS               Trust Distribution                             236
   1871        2/4/2020 MSSB C/F AUDREY G BEYER                Trust Distribution                           141.6
   1884        2/4/2020 NATHAN ALLEN                           Trust Distribution                             118
   1885        2/4/2020 OWEN BENNETT MULLER                    Trust Distribution                             118
   1699        2/4/2020 Pat Collins                            Trust Distribution                            4720
   1913        2/4/2020 Patricia Duke                          Trust Distribution                            47.2
   1797        2/4/2020 PETER SEAMANS                          Trust Distribution                          759.35
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    1886          2/4/2020    AUSTIN RUIZ
                              PRESTON       WATKINS
                                        SOECHTING                         Trust Distribution                                                  118
    1926          2/4/2020    REYHEENA EIDARIUS                           Trust Distribution                                                 35.4
    1828          2/4/2020    ROBERT C CLARK                              Trust Distribution                                               449.86
    1915          2/4/2020    ROBERT FORD ERZEN                           Trust Distribution                                                47.20
                              ROBERT H KEELEY & SANDRA D
     1794          2/4/2020   KEELEY JT TEN                               Trust Distribution                                                899.70
     1715          2/4/2020   SEAMARK FUND LP                             Trust Distribution                                              3,170.25
     1744          2/4/2020   SEGAL FAMILY TRUST                          Trust Distribution                                              1,863.66
     1717          2/4/2020   SPM CENTER LLC                              Trust Distribution                                              3,113.05
     1842          2/4/2020   SSBT TTEE                                   Trust Distribution                                                302.08
     1899          2/4/2020   STUBBS ALDERTON & MARKILES LLP              Trust Distribution                                                 73.70
                              THE ELLEN IDELSON TRUST DATED
     1861          2/4/2020   MARCH 20 2003                               Trust Distribution                                                211.59
     1685          2/4/2020   The Vanguard Group                          Trust Distribution                                              8,478.27
     1769          2/4/2020   THE VERTICAL TRADING GROUP LLC              Trust Distribution                                              1,298.00
                              THE WILLIAM J. & SEEMAH W. IDELSON
     1786          2/4/2020   FAMILY TRUST                                Trust Distribution                                              1,057.84
     1722          2/4/2020   THOMAS ELLIOTT                              Trust Distribution                                               2798.27
     1757          2/4/2020   THOMAS J CHOKEL                             Trust Distribution                                               1609.07
                              TODD M TOWNSEND ROTH IRA COR
     1807         2/4/2020    CLEARING CUST                               Trust Distribution                                                  708
     1933        2/12/2020    MILWAUKEE DEF COMP BOARD TTEE               Trust Distribution                                                  202
     1937        3/17/2020    Steven Ledger                               Trust Distribution                                              1428.95

                                                                                                                         TOTAL          144,945.43

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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                                          CHAPTER 11 POST-CONFIRMATION
                                     CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                  TD Bank
Account Number                                                x4123
Purpose of Account (Operating/Payroll/Personal)               Operating
Type of Account (e.g., Checking)                              Checking

  Check      Date of
 Number    Transaction                        Payee                          Purpose or Description           Amount
EFT             1/3/2020   Ron Chez                           Trust Administration                             10,000.00
EFT             1/3/2020   Patrick O'Brien                    Trust Administration                             10,000.00
EFT             1/3/2020   TD Bank                            Bank Fee                                             25.00
EFT             1/3/2020   TD Bank                            Bank Fee                                             25.00
995081         1/13/2020   FTI CONSULTING                     Legal Support                                     8,070.85
995080         1/14/2020   BPE&H An Accountancy Corporation   Trust Administration                              3,885.00
995084         1/15/2020   SOLOMON & CRAMER LLP               Legal                                            35,878.13
                           KURTZMAN CARSON CONSULTANTS
995083         1/15/2020   LLC                                Trust Administration                               12,875.58
995082         1/16/2020   HEMMING MORSE LLP                  Legal Support                                      33,633.40
EFT            1/31/2020   Transfer to Signature Bank         Prepare for distribution                        1,982,359.54
EFT            1/31/2020   Radians Inc                        Legal Fees                                        375,000.00
EFT            1/31/2020   TD Bank                            Bank Fee                                               25.00
EFT            1/31/2020   TD Bank                            Bank Fee                                               25.00
EFT            1/31/2020   TD Bank                            Bank Fee                                               30.00
995091         2/13/2020   SOLOMON & CRAMER LLP               Legal                                              53,911.99
995089         2/13/2020   SOLOMON & CRAMER LLP               Legal                                              47,243.85
995086         2/13/2020   UNITED STATES TRUSTEE              Quarterly Fee                                       4,875.00
995085         2/13/2020   UNITED STATES TRUSTEE              Quarterly Fee                                         325.00
995090         2/19/2020   HEMMING MORSE LLP                  Legal Support                                      75,000.00
995088         2/19/2020   HEMMING MORSE LLP                  Legal Support                                      43,726.25
995087         2/19/2020   DENTONS LLP                        Legal                                               7,640.45
EFT            2/28/2020   TD Bank                            Bank Fee                                               30.00
995094         3/10/2020   HEMMING MORSE LLP                  Legal Support                                      75,000.00
995095         3/11/2020   SOLOMON & CRAMER LLP               Legal                                              75,000.00
995093         3/11/2020   FTI CONSULTING                     Legal Support                                      11,859.95
995092         3/16/2020   DENTONS LLP                        Legal                                              18,460.55

995099         3/23/2020 AMERICAN ARBITRATION ASSOCIATION     Legal                                             75,000.00
995098         3/23/2020 SOLOMON & CRAMER LLP                 Legal                                             36,991.74
995100         3/23/2020 AMERICAN ARBITRATION ASSOCIATION     Legal                                             15,000.00
995096         3/24/2020 HEMMING MORSE LLP                    Legal Support                                     21,773.50
                         KURTZMAN CARSON CONSULTANTS
995097         3/25/2020 LLC                                  Trust Administration                                2,651.40
EFT            3/26/2020 TD Bank                              Bank Fee                                               35.00
EFT            3/31/2020 TD Bank                              Bank Fee                                               30.00

                                                                                                      TOTAL   3,036,387.18


                                                                                                                        -1
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                                       CHAPTER 11 POST-CONFIRMATION
                             OUTSTANDING CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                              TD Bank
Account Number                                                            x4123
Purpose of Account (Operating/Payroll/Personal)                           Operating
Type of Account (e.g., Checking)                                          Checking

  Check        Date of
 Number      Transaction                       Payee                                     Purpose or Description                         Amount




                                                                                                                    TOTAL                   0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
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                                                                                                CHAPTER 11 POST-CONFIRMATION
                                                                                                     INTEREST RECEIVED


                          Account         Account           Account            Account        Account          Account          Account          Account           Account           Account        Account         Account        Account        Account
                            #1               #2                #3                 #4             #5               #6               #7               #8               #9                #10            #11             #12            #13            #14
                                       Signature         Signature           Signature      Signature        Signature        Signature        Signature
Name of Bank:          Capital One     Bank              Bank                Bank           Bank             Bank             Bank             Bank             TD Bank            TD Bank        TD Bank         TD Bank        TD Bank        TD Bank
Account Number:            x0575           x0112             x0120              x0139          x7032            x7040            x7059            x7067             x4123             x3018          x9869           x9893          x4074          x4058

Purpose of Account                                       Excess Cash         Operating      Class 1          Tax              Class 3          Class 4                             Operating      Class 1                     Class 3           Class 4
(Operating/Payroll/Tax) Disbursement   Disbursment       Reserve             Reserve        Reserve          Reserve          Reserve          Reserve          Disbursement       Reserve        Reserve         Tax Reserve Reserve           Reserve
Type of Account                                                                                                                                                                    Money          Money           Money       Money             Money
(e.g. checking)         Checking       Checking          Checking            Checking       Checking         Checking         Checking         Checking         Checking           Market         Market          Market      Market            Market
Month
10/31/2018                                                           26.93       1,718.04        358.51            84.46          2,158.31          234.60
11/30/2018                                                           26.19         52.55          11.57                             69.66                                               2774.02         610.05           143.7        3672.77         399.19
12/31/2018                                                           27.11                                                                                                              2844.07          653.16         153.85         3932.3          427.4
                                                  0.00               80.23       1,770.59        370.08            84.46          2,227.97          234.60                  0.00       5,618.09        1,263.21         297.55       7,605.07         826.59    20,378.44

1/31/2019                                                            27.13                                                                                                              2965.37          715.47         168.53        4307.47          468.18
2/28/2019                                                            24.53                                                                                                              2575.69          651.25          153.4        3920.84          426.16
3/31/2019                                                            27.18                                                                                                               2754.3          722.25         170.12        4348.26          472.61
                                                  0.00               78.84          0.00              0.00             0.00             0.00             0.00               0.00       8,295.36        2,088.97         492.05      12,576.57        1,366.95   24,898.74

4/30/2019                                                            26.33                                                                                                              2538.51          700.25         164.94        4215.85          458.22
5/31/2019                                                            27.23                                                                                                              2490.69          724.90         170.75        4364.26          474.35
6/30/2019                                                            26.38                                                                                                              2253.78          702.83         165.55        4231.37          459.91
                                                  0.00               79.94          0.00              0.00             0.00             0.00             0.00               0.00       7,282.98        2,127.98         501.24      12,811.48        1,392.48   24,196.10

7/31/2019                                                          27.28                                                                                                                1954.78          727.57         171.38        4380.32           476.1
8/31/2019                                                       1,589.36                                                                                                                1770.93          664.80         156.59        4002.42          435.02
9/30/2019                                                         850.14                                                                                                                1490.97          626.32         147.53        3770.75          409.84
                                                  0.00          2,466.78            0.00              0.00             0.00             0.00             0.00               0.00       5,216.68        2,018.69         475.50      12,153.49        1,320.96   23,652.10

10/31/2019                                                          239.67                                                                                                              1187.35          570.49         134.38        3434.62          373.31
11/30/2019                                                          237.73                                                                                                               897.09          499.37         117.63        3006.44          326.77
12/31/2019                                                          245.88                                                                                                               828.75          483.34         113.85        2909.93          316.28
                                                  0.00              723.28          0.00              0.00             0.00             0.00             0.00               0.00       2,913.19        1,553.20         365.86       9,350.99        1,016.36   15,922.88

1/31/2020                                                           246.11                                                                                                               496.98          482.61         113.68        2811.82          315.8     4,467.00
2/29/2020                                                           230.44                                                                                                               402.55          452.03         106.48           3.23         295.79     1,490.52
3/31/2020                                                           119.27                                                                                                                221.9          414.88          97.72           2.97         154.44     1,011.18
                                                  0.00              595.82          0.00              0.00             0.00             0.00             0.00               0.00       1,121.43        1,349.52         317.88       2,818.02         766.03     6,968.70
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         BANK STATEMENTS
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0112         2

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   146,094.86                  2,124,182.46

              RELATIONSHIP              TOTAL                                                   2,124,182.46
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                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017




             ICPW NEVADA TRUST                            9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                    See Back for Important Information


                                                                            Primary Account:       0112         2


MONOGRAM CHECKING                       0112




Summary

 Previous Balance as of January      01, 2020                                                           146,094.86
        1 Credits                                                                                     1,982,359.54
        2 Debits                                                                                          4,271.94
 Ending Balance as of   January      31, 2020                                                         2,124,182.46


Deposits and Other Credits
 Jan 31 INCOMING WIRE                                                                                 1,982,359.54
         REF# 20200131B6B7261F00205901311404FT01
         FROM: ICPW LIQUIDATION TRUST                 ABA:
         BANK:

Checks by Serial Number
 Jan 29       1433                 4,201.24      Jan 21            1446 *                  70.70

                    * Indicates break in check sequence

Daily Balances
 Dec 31              146,094.86                           Jan 29              141,822.92
 Jan 21              146,024.16                           Jan 31            2,124,182.46

Rates for this statement period - Overdraft
Jan 01, 2020   14.500000 %
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                                                                                565 FIFTH AVENUE
                                                                                NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:          0112         170

              FOR MOBILE BANKING USERS: EFFECTIVE 2/14/2020, THE BANK IS EXTENDING
              THE CUT-OFF TIME FOR MOBILE DEPOSITS FROM 4:00 P.M. TO 7:00 P.M. ET ON
              THE BUSINESS DAY OF RECEIPT. MOBILE DEPOSITS RECEIVED ON A BUSINESS DAY
              AFTER THE CUT-OFF TIME, OR ON A DAY THAT IS NOT A BUSINESS DAY, WILL BE
              PROCESSED ON THE NEXT BUSINESS DAY.

              IF YOU HAVE ANY QUESTIONS, CONTACT YOUR PRIVATE CLIENT GROUP OR
              SIGNATURE BANK CLIENT SERVICES (1-866-SIG-LINE).

Signature Relationship Summary                                    Opening Bal.                   Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                 2,124,182.46                       432,311.05

              RELATIONSHIP              TOTAL                                                        432,311.05
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                                                                        565 FIFTH AVENUE
                                                                        NEW YORK, NY 10017




             ICPW NEVADA TRUST                        9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                       See Back for Important Information


                                                               Primary Account:       0112         170


MONOGRAM CHECKING                     0112




Summary

 Previous Balance as of February   01, 2020                                              2,124,182.46
        1 Credits                                                                            3,658.00
      200 Debits                                                                         1,695,529.41
 Ending Balance as of   February   29, 2020                                                432,311.05


Deposits and Other Credits
 Feb 07 INCOMING WIRE                                                                        3,658.00
         REF# 20200207B6B7261F00073602071028FT01
         FROM: ICPW NEVADA TRUST                    ABA:
         BANK:

Withdrawals and Other Debits
 Feb 07 OUTGOING WIRE                                                                            118.00
         REF# 20200207B6B7261F000436
         TO:   Fifth Third Bank Chicago Account   ABA:
         BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
         OBI: FURTHER CREDIT TO Eric J Chez IRA ACCOUNT NO
         OBI:
         OBI:
 Feb 07 OUTGOING WIRE                                                                            195.88
         REF# 20200207B6B7261F000442
         TO:   Fifth Third Bank Chicago Account   ABA:
         BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
         OBI: FURTHER CREDIT TO Ilyse Markrack ACCOUNT NO
         OBI:
         OBI:
 Feb 07 OUTGOING WIRE                                                                            590.00
         REF# 20200207B6B7261F000797
         TO:   Marilyn J Chez Irrev Trust         ABA:
         BANK: JPMORGAN CHASE BANK, NA          ACCT#
 Feb 07 OUTGOING WIRE                                                                            708.00
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                                                                              565 FIFTH AVENUE
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             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                             See Back for Important Information


                                                                    Primary Account:        0112         170

Date                    Description
          REF# 20200207B6B7261F000612
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Andrea Janelle Simon ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                                708.00
          REF# 20200207B6B7261F001047
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Shana A Larson ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                                778.80
          REF# 20200207B6B7261F000421
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Sue Glick Survivors Trust ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                                953.44
          REF# 20200207B6B7261F000791
          TO:   NFS                                ABA:
          BANK: JPMORGAN CHASE BANK, NA          ACCT#
          OBI: FURTHER CREDIT Ronald Chez ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            1,014.80
          REF# 20200207B6B7261F000391
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Steven Glick Bypass Trust ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            1,298.00
          REF# 20200207B6B7261F000661
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Sue M Glick IRA ACCOUNT NO
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                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                             See Back for Important Information


                                                                    Primary Account:        0112         170

Date                    Description
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            1,602.44
          REF# 20200207B6B7261F000397
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Christopher Marks ACCOUNT NO
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            1,652.00
          REF# 20200207B6B7261F000430
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: Further credit to Eden Macknin Bene Tr IRA Accoutn no
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            1,791.24
          REF# 20200207B6B7261F000780
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: further credit to Ilyse Markrack Bene Tr IRA Account n
          OBI: o
          OBI:
Feb 07    OUTGOING WIRE                                                                            2,638.48
          REF# 20200207B6B7261F000709
          TO:   Morgan Stanley Smith Barney LLC    ABA:
          BANK: CITIBANK, N.A.                   ACCT#
          OBI: Further Credit Ronald L Chez IRA Account no
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            3,658.00
          REF# 20200207B6B7261F000453
          TO:   Elizabeth Chez Bene Tr IRA         ABA:
          BANK: JPMORGAN CHASE BANK, NA          ACCT#
Feb 07    OUTGOING WIRE                                                                            3,681.60
          REF# 20200207B6B7261F000689
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: Further credit to Ann Sofios Irrev Trust Account no
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                                                                              565 FIFTH AVENUE
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             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                             See Back for Important Information


                                                                    Primary Account: 1503390112          170

Date                    Description
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            5,144.80
          REF# 20200207B6B7261F000604
          TO:   Charles Schwab Co Inc              ABA:
          BANK: CITIBANK, N.A.                   ACCT#
          OBI: For Further Credit To Writser Pier Clevering Account n
          OBI: o
          OBI:
Feb 07    OUTGOING WIRE                                                                            6,490.00
          REF# 20200207B6B7261F000672
          TO:   Merrill Lynch                      ABA:
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
          OBI: Further Credit Eric Chez Bene Tr IRA Account no
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                            8,353.33
          REF# 20200207B6B7261F000700
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: Further credit Chez Family Foundation Trust Account no
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                           16,360.72
          REF# 20200207B6B7261F000574
          TO:   Eric M Jaeger                      ABA:
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
Feb 07    OUTGOING WIRE                                                                           17,936.00
          REF# 20200207B6B7261F000674
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: Further Credit Account                Athena Marks
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                           32,220.41
          REF# 20200207B6B7261F000358
          TO:   Jaeger Family LLC                  ABA:
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
Feb 07    OUTGOING WIRE                                                                           32,725.03
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                                                                               565 FIFTH AVENUE
                                                                               NEW YORK, NY 10017




              ICPW NEVADA TRUST                       9-161
              MATTHEW PLISKIN TRUSTEE
              DISBURSEMENT ACCOUNT
              3902 W HENDERSON BLVD, SUITE 208-336
              TAMPA FL 33629                                             See Back for Important Information


                                                                     Primary Account:        0112         170

Date                    Description
          REF# 20200207B6B7261F000307
          TO:   UBS Financial Services Inc          ABA:
          BANK: UBS AG                            ACCT#
          OBI: Further Credit 101WA2586411000
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                              34,301.84
          REF# 20200207B6B7261F000302
          TO:   Eduard Albert Jaeger                ABA:
          BANK: MUFG UNION BANK, NA               ACCT#
Feb 07    OUTGOING WIRE                                                                              47,200.00
          REF# 20200207B6B7261F000431
          TO:   Marcel Sassola                      ABA:
          BANK: BANK OF AMERICA, N.A., NY         ACCT#
          OBI: Reference: The Sassola III Family Trust
          OBI:
          OBI:
Feb 07    OUTGOING WIRE                                                                             125,598.04
          REF# 20200207B6B7261F000411
          TO:   Judy Frank Frank Fmaily Trust       ABA:
          BANK: PACIFIC PREMIER BANK              ACCT#
Feb 07    OUTGOING WIRE                                                                             179,211.79
          REF# 20200207B6B7261F000337
          TO:   Scott M Jarus and Rebecca D Jarus   ABA:
          BANK: MUFG UNION BANK, NA               ACCT#
Feb 07    OUTGOING WIRE                                                                             191,865.49
          REF# 20200207B6B7261F000281
          TO:   Fifth Third Bank Chicago Account    ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS    ACCT#
          OBI: Further Credit Account                 Ronald L Chez IR
          OBI: A
          OBI:
Feb 07    OUTGOING WIRE                                                                             276,092.05
          REF# 20200207B6B7261F000370
          TO:   TD Ameritrade Inc                   ABA:
          BANK: FIRST NATIONAL BANK OF OMAHA      ACCT#
          OBI: Further Credit to: TD Ameritrade Clearing - Reorganiza
          OBI: tion - Suzanne Brodd Account
          OBI:
     Case 1:17-bk-12408-MB        Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                    Desc
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                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017




             ICPW NEVADA TRUST                           9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                    See Back for Important Information


                                                                            Primary Account:       0112         170

 Date                   Description
 Feb 10   OUTGOING WIRE                                                                                   3,658.00
          REF# 20200210B6B7261F001797
          TO:   Fifth Third Bank Chicago Account   ABA:
          BANK: FIFTH THIRD BANK, NATIONAL ASS   ACCT#
          OBI: FURTHER CREDIT TO Elizabeth Chez Bene Tr IRA ACCOUNT N
          OBI:
          OBI:
 Feb 13   POSTING ADJUSTMENT                                                                                     .11

Checks by Serial Number
 Feb 14       1635              5,428.00      Feb   19           1697   *            4,970.51
 Feb 07       1652 *            6,366.54      Feb   14           1701   *            4,498.53
 Feb 12       1656 *          118,000.00      Feb   13           1703   *            4,425.21
 Feb 19       1657             47,200.00      Feb   12           1705   *            3,927.48
 Feb 12       1658             46,538.75      Feb   12           1707   *            3,790.58
 Feb 18       1659             39,884.00      Feb   19           1708                3,743.73
 Feb 13       1663 *           19,285.44      Feb   11           1709                3,670.50
 Feb 18       1664             19,158.99      Feb   21           1710                3,598.83
 Feb 19       1665             19,003.28      Feb   11           1711                3,598.83
 Feb 13       1666             18,855.22      Feb   11           1713   *            3,283.06
 Feb 20       1667             17,966.46      Feb   20           1714                3,252.08
 Feb 12       1668             15,300.00      Feb   18           1718   *            3,078.43
 Feb 18       1669             14,212.22      Feb   11           1719                3,006.89
 Feb 20       1671 *           12,551.77      Feb   19           1720                2,987.71
 Feb 18       1672             12,460.80      Feb   19           1724   *            2,714.00
 Feb 14       1674 *           11,800.00      Feb   24           1725                2,714.00
 Feb 14       1675             11,800.00      Feb   26           1728   *            2,699.13
 Feb 13       1676             11,800.00      Feb   20           1729                2,633.54
 Feb 18       1678 *           11,800.00      Feb   28           1731   *            2,571.85
 Feb 13       1681 *           10,403.37      Feb   13           1732                2,541.67
 Feb 24       1682              9,439.97      Feb   21           1733                2,430.80
 Feb 11       1683              9,135.01      Feb   21           1734                2,397.76
 Feb 14       1684              8,871.49      Feb   24           1735                2,395.44
 Feb 25       1686 *            8,220.11      Feb   13           1737   *            2,360.00
 Feb 18       1688 *            7,788.00      Feb   24           1739   *            2,282.56
 Feb 12       1689              7,726.87      Feb   13           1740                2,178.32
 Feb 13       1690              7,080.00      Feb   28           1741                2,006.00
 Feb 14       1693 *            5,767.36      Feb   11           1743   *            1,863.66
 Feb 20       1694              5,669.61      Feb   12           1746   *            1,799.40
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                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017




            ICPW NEVADA TRUST                         9-161
            MATTHEW PLISKIN TRUSTEE
            DISBURSEMENT ACCOUNT
            3902 W HENDERSON BLVD, SUITE 208-336
            TAMPA FL 33629                                              See Back for Important Information


                                                                     Primary Account:       0112         170

Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
Feb 24       1747              1,799.40      Feb 25         1803                708.00
Feb 14       1749 *            1,799.40      Feb 13         1804                708.00
Feb 19       1750              1,799.40      Feb 19         1805                708.00
Feb 11       1751              1,781.91      Feb 28         1806                708.00
Feb 19       1752              1,770.00      Feb 25         1808 *              708.00
Feb 12       1753              1,770.00      Feb 13         1810 *              610.93
Feb 19       1754              1,697.05      Feb 25         1811                597.50
Feb 11       1755              1,652.00      Feb 19         1813 *              597.50
Feb 24       1756              1,638.17      Feb 13         1814                590.00
Feb 13       1758 *            1,578.58      Feb 25         1815                590.00
Feb 19       1760 *            1,552.36      Feb 14         1816                590.00
Feb 19       1763 *            1,484.44      Feb 14         1817                590.00
Feb 13       1765 *            1,416.00      Feb 18         1818                590.00
Feb 12       1766              1,416.00      Feb 25         1819                551.31
Feb 12       1767              1,345.20      Feb 12         1821 *              531.00
Feb 19       1768              1,341.37      Feb 18         1822                519.20
Feb 13       1770 *            1,250.80      Feb 14         1823                472.00
Feb 12       1771              1,244.90      Feb 18         1829 *              446.29
Feb 25       1772              1,242.54      Feb 14         1830                396.69
Feb 11       1773              1,190.33      Feb 24         1831                396.69
Feb 25       1775 *            1,180.00      Feb 11         1833 *              355.20
Feb 20       1776              1,180.00      Feb 13         1834                354.00
Feb 12       1777              1,180.00      Feb 14         1835                353.97
Feb 20       1778              1,180.00      Feb 24         1836                314.68
Feb 20       1781 *            1,180.00      Feb 12         1837                314.65
Feb 13       1782              1,180.00      Feb 11         1838                314.65
Feb 13       1783              1,180.00      Feb 14         1840 *              306.80
Feb 14       1785 *            1,145.52      Feb 13         1841                306.80
Feb 13       1788 *              976.19      Feb 20         1843 *              295.00
Feb 12       1789                967.60      Feb 14         1844                283.20
Feb 13       1791 *              931.82      Feb 20         1845                269.98
Feb 12       1792                899.70      Feb 19         1846                250.16
Feb 21       1793                899.70      Feb 12         1847                238.97
Feb 24       1795 *              848.51      Feb 12         1849 *              236.00
Feb 26       1796                827.79      Feb 19         1850                236.00
Feb 13       1798 *              750.31      Feb 13         1851                236.00
Feb 13       1799                738.68      Feb 25         1852                236.00
Feb 18       1801 *              708.00      Feb 12         1856 *              236.00
Feb 19       1802                708.00      Feb 12         1857                236.00
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                                                                                PRIVATE CLIENT GROUP 161
                                                                                565 FIFTH AVENUE
                                                                                NEW YORK, NY 10017




             ICPW NEVADA TRUST                          9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                               See Back for Important Information


                                                                       Primary Account:       0112         170

 Date     Serial Nbr               Amount      Date       Serial Nbr              Amount
 Feb 28       1864 *               188.80      Feb 18         1889                118.00
 Feb 12       1865                 181.53      Feb 13         1890                117.97
 Feb 13       1867 *               179.87      Feb 20         1892 *              106.20
 Feb 14       1868                 169.11      Feb 18         1893                 99.12
 Feb 14       1869                 165.20      Feb 26         1896 *               94.40
 Feb 21       1870                 141.60      Feb 13         1897                 94.40
 Feb 24       1872 *               141.60      Feb 13         1900 *               70.80
 Feb 18       1873                 141.60      Feb 18         1902 *               59.00
 Feb 18       1875 *               134.89      Feb 19         1903                 59.00
 Feb 25       1876                 129.21      Feb 18         1904                 59.00
 Feb 13       1877                 119.43      Feb 18         1906 *               57.44
 Feb 19       1878                 118.00      Feb 19         1907                 47.20
 Feb 12       1879                 118.00      Feb 18         1909 *               47.20
 Feb 12       1880                 118.00      Feb 13         1914 *               47.20
 Feb 12       1881                 118.00      Feb 12         1921 *               77.69
 Feb 12       1887 *               118.00      Feb 12         1922                 43.66
 Feb 20       1888                 118.00      Feb 14         1925 *               35.40

                  * Indicates break in check sequence

Daily Balances
 Jan 31          2,124,182.46                           Feb   19         533,412.04
 Feb 07          1,126,585.74                           Feb   20         487,009.40
 Feb 10          1,122,927.74                           Feb   21         477,540.71
 Feb 11          1,093,075.70                           Feb   24         455,569.69
 Feb 12            884,601.72                           Feb   25         441,407.02
 Feb 13            792,234.60                           Feb   26         437,785.70
 Feb 14            737,761.93                           Feb   28         432,311.05
 Feb 18            626,399.75
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                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017




             ICPW NEVADA TRUST                      9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                      See Back for Important Information


                                                              Primary Account:       0112         170


Rates for this statement period - Overdraft
Feb 01, 2020   14.500000 %
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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0112          47

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      MONOGRAM CHECKING                                   432,311.05                      239,670.27

              RELATIONSHIP              TOTAL                                                       239,670.27
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                                                                                           Statement Period
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                                                                                        565 FIFTH AVENUE
                                                                                        NEW YORK, NY 10017




             ICPW NEVADA TRUST                              9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                                       See Back for Important Information


                                                                               Primary Account:       0112          47


MONOGRAM CHECKING                       0112




Summary

 Previous Balance as of March        01, 2020                                                                432,311.05
       47 Debits                                                                                             192,640.78
 Ending Balance as of   March        31, 2020                                                                239,670.27


Checks by Serial Number
 Mar 20       1653                   314.65      Mar   09           1790   *              944.00
 Mar 03       1660 *              32,595.35      Mar   09           1820   *              533.87
 Mar 02       1662 *              23,600.00      Mar   05           1825   *              472.00
 Mar 04       1673 *              12,400.99      Mar   04           1826                  472.00
 Mar 02       1677 *              11,800.00      Mar   23           1832   *              359.92
 Mar 03       1679 *              11,495.08      Mar   04           1848   *              236.00
 Mar 02       1680                11,351.60      Mar   09           1854   *              236.00
 Mar 04       1687 *               7,849.36      Mar   12           1858   *              235.97
 Mar 04       1691 *               6,490.00      Mar   17           1859                  218.27
 Mar 03       1692                 6,281.65      Mar   10           1866   *              179.87
 Mar 03       1696 *               5,295.55      Mar   05           1874   *              136.78
 Mar 25       1698 *               4,908.37      Mar   03           1894   *               94.40
 Mar 10       1702 *               4,484.00      Mar   05           1895                   94.40
 Mar 02       1704 *               4,303.10      Mar   10           1898   *               74.50
 Mar 03       1706 *               3,831.69      Mar   02           1916   *               44.95
 Mar 02       1727 *               2,699.13      Mar   06           1918   *               87.32
 Mar 12       1730 *               2,596.00      Mar   31           1924   *               35.40
 Mar 03       1745 *               1,863.66      Mar   05           1930   *               25.46
 Mar 03       1748 *               1,799.40      Mar   06           1931                4,175.00
 Mar 03       1759 *               1,573.31      Mar   04           1932                6,718.52
 Mar 12       1761 *               1,518.80      Mar   04           1934   *           13,879.89
 Mar 03       1774 *               1,187.92      Mar   02           1935                  472.00
 Mar 04       1780 *               1,180.00      Mar   10           1936                  314.65
 Mar 02       1784 *               1,180.00

                    * Indicates break in check sequence
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                                                                              Statement Period
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                                                                           PRIVATE CLIENT GROUP 161
                                                                           565 FIFTH AVENUE
                                                                           NEW YORK, NY 10017




             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                          See Back for Important Information


                                                                  Primary Account:       0112         47


Daily Balances
 Feb 29             432,311.05                       Mar   10       249,857.65
 Mar 02             376,860.27                       Mar   12       245,506.88
 Mar 03             310,842.26                       Mar   17       245,288.61
 Mar 04             261,615.50                       Mar   20       244,973.96
 Mar 05             260,886.86                       Mar   23       244,614.04
 Mar 06             256,624.54                       Mar   25       239,705.67
 Mar 09             254,910.67                       Mar   31       239,670.27

Rates for this   statement   period - Overdraft
Mar 17, 2020     13.000000   %
Mar 04, 2020     14.000000   %
Mar 01, 2020     17.750000   %
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0120           0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,313.56                      263,559.67

              RELATIONSHIP             TOTAL                                                        263,559.67
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120            0


MONOGRAM INSURED MMA                 0120

 Interest Paid Previous Year                                                                        3,348.84

Summary

 Previous Balance as of January   01, 2020                                                        263,313.56
        1 Credits                                                                                     246.11
 Ending Balance as of   January   31, 2020                                                        263,559.67


Deposits and Other Credits
 Jan 31 Interest Paid                                                                                  246.11

Daily Balances
 Dec 31           263,313.56                         Jan 31           263,559.67

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest                 246.11                                                          *
* Interest Paid This Period             246.11           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          263,313.56           Days in Period                      31         *
*=======================================================================================================*
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                                                                                PRIVATE CLIENT GROUP 161
                                                                                565 FIFTH AVENUE
                                                                                NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:          0120           0

              FOR MOBILE BANKING USERS: EFFECTIVE 2/14/2020, THE BANK IS EXTENDING
              THE CUT-OFF TIME FOR MOBILE DEPOSITS FROM 4:00 P.M. TO 7:00 P.M. ET ON
              THE BUSINESS DAY OF RECEIPT. MOBILE DEPOSITS RECEIVED ON A BUSINESS DAY
              AFTER THE CUT-OFF TIME, OR ON A DAY THAT IS NOT A BUSINESS DAY, WILL BE
              PROCESSED ON THE NEXT BUSINESS DAY.

              IF YOU HAVE ANY QUESTIONS, CONTACT YOUR PRIVATE CLIENT GROUP OR
              SIGNATURE BANK CLIENT SERVICES (1-866-SIG-LINE).

Signature Relationship Summary                                    Opening Bal.                   Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,559.67                       263,790.11

              RELATIONSHIP             TOTAL                                                         263,790.11
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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120           0


MONOGRAM INSURED MMA                  0120

 Interest Paid Previous Year                                                                        3,348.84

Summary

 Previous Balance as of February   01, 2020                                                       263,559.67
        1 Credits                                                                                     230.44
 Ending Balance as of   February   29, 2020                                                       263,790.11


Deposits and Other Credits
 Feb 28 Interest Paid                                                                                 230.44

Daily Balances
 Jan 31           263,559.67                         Feb 28           263,790.11

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest                 476.55                                                          *
* Interest Paid This Period             230.44           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          263,559.67           Days in Period                      29         *
*=======================================================================================================*
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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:         0120           0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      MONOGRAM INSURED MMA                                263,790.11                      263,909.38

              RELATIONSHIP             TOTAL                                                        263,909.38
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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                                            See Back for Important Information


                                                                    Primary Account:       0120            0


MONOGRAM INSURED MMA                 0120

 Interest Paid Previous Year                                                                        3,348.84

Summary

 Previous Balance as of March     01, 2020                                                        263,790.11
        1 Credits                                                                                     119.27
 Ending Balance as of   March     31, 2020                                                        263,909.38


Deposits and Other Credits
 Mar 16 Interest Paid                                                                                  119.27

Daily Balances
 Feb 29           263,790.11                         Mar 16           263,909.38

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest                 595.82                                                          *
* Interest Paid This Period             119.27           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          263,790.11           Days in Period                      31         *
*=======================================================================================================*
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 3
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    OPERATING ACCOUNT                                                Cust Ref #:                     3018-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        3018
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                      645,883.13                           Average Collected Balance             404,681.29
Deposits                                 7,829.00                           Interest Earned This Period               496.98
Other Credits                              496.98                           Interest Paid Year-to-Date                496.98
                                                                            Annual Percentage Yield Earned            1.46%
Electronic Payments                    303,795.56                           Days in Period                                31
Ending Balance                         350,413.55




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/16              DEPOSIT                                                                                          7,829.00
                                                                                             Subtotal:              7,829.00
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              INTEREST PAID                                                                                       496.98
                                                                                             Subtotal:                 496.98
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/03              eTransfer Debit, Online Xfer                                                                    30,000.00
                     Transfer to CK         4123
01/07              eTransfer Debit, Online Xfer                                                                   268,595.56
                     Transfer to CK         4123
01/30              eTransfer Debit, Online Xfer                                                                     5,200.00
                     Transfer to CK         4123

                                                                                             Subtotal:            303,795.56




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       350,413.55
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                 STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                     Page:                                  3 of 3
   OPERATING ACCOUNT                             Statement Period:    Jan 01 2020-Jan 31 2020
                                                 Cust Ref #:                   3018-701-7-###
                                                 Primary Account #:                      3018




DAILY BALANCE SUMMARY
DATE                             BALANCE               DATE                                 BALANCE
12/31                          645,883.13              01/16                             355,116.57
01/03                          615,883.13              01/30                             349,916.57
01/07                          347,287.57              01/31                             350,413.55




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    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    OPERATING ACCOUNT                                                Cust Ref #:                     3018-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        3018
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                      350,413.55                           Average Collected Balance             350,396.39
Deposits                                 1,500.00                           Interest Earned This Period               402.55
Other Credits                              402.55                           Interest Paid Year-to-Date                899.53
                                                                            Annual Percentage Yield Earned            1.46%
Electronic Payments                      4,000.00                           Days in Period                                29
Ending Balance                         348,316.10




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/03              DEPOSIT                                                                                          1,500.00
                                                                                             Subtotal:              1,500.00
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/28              INTEREST PAID                                                                                       402.55
                                                                                             Subtotal:                 402.55
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/20              eTransfer Debit, Online Xfer                                                                     4,000.00
                     Transfer to CK         4123

                                                                                             Subtotal:              4,000.00


DAILY BALANCE SUMMARY
DATE                                     BALANCE                           DATE                                     BALANCE
01/31                                  350,413.55                          02/20                                 347,913.55
02/03                                  351,913.55                          02/28                                 348,316.10



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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       348,316.10
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            é   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                       Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                                    Statement Period:    Mar 01 2020-Mar 31 2020
   OPERATING ACCOUNT                                            Cust Ref #:                   3018-701-7-###
   3609 HENDERSON BLVD STE 208                                  Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                       Account #            3018
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÑÐÛÎßÌ×ÒÙ ßÝÝÑËÒÌ


ACCOUNT SUMMARY
Beginning Balance                       348,316.10                    Average Collected Balance          219,357.20
Electronic Deposits                     255,000.00                    Interest Earned This Period            221.90
Other Credits                               221.90                    Interest Paid Year-to-Date           1,121.43
                                                                      Annual Percentage Yield Earned         1.20%
Electronic Payments                     331,737.14                    Days in Period                             31
Ending Balance                          271,800.86




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
03/16            eTransfer Credit, Online Xfer                                                           255,000.00
                      Transfer from MMKT             4058

                                                                                     Subtotal:           255,000.00
Other Credits
POSTING DATE     DESCRIPTION                                                                                AMOUNT
03/31            INTEREST PAID                                                                                  221.90
                                                                                     Subtotal:                  221.90
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                AMOUNT
03/02            eTransfer Debit, Online Xfer                                                            180,320.50
                      Transfer to CK         4123
03/12            eTransfer Debit, Online Xfer                                                             61,416.64
                      Transfer to CK         4123
03/16            eTransfer Debit, Online Xfer                                                             90,000.00
                      Transfer to CK         4123

                                                                                     Subtotal:           331,737.14


DAILY BALANCE SUMMARY
DATE                                      BALANCE                     DATE                                 BALANCE
02/29                                   348,316.10                    03/16                             271,578.96
03/02                                   167,995.60                    03/31                             271,800.86
03/12                                   106,578.96




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       271,800.86
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    CLASS 4 RESERVE                                                  Cust Ref #:                     4058-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4058
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                     257,140.42                            Average Collected Balance             257,150.60
Other Credits                             315.80                            Interest Earned This Period               315.80
                                                                            Interest Paid Year-to-Date                315.80
Ending Balance                        257,456.22                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              INTEREST PAID                                                                                       315.80
                                                                                             Subtotal:                 315.80


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
12/31                                257,140.42                            01/31                                 257,456.22




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       257,456.22
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    CLASS 4 RESERVE                                                  Cust Ref #:                     4058-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4058
    TAMPA FL 33629




Debit Card International Transaction Fee
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physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                     257,456.22                            Average Collected Balance             257,466.41
Other Credits                             295.79                            Interest Earned This Period               295.79
                                                                            Interest Paid Year-to-Date                611.59
Ending Balance                        257,752.01                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                29



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/28              INTEREST PAID                                                                                       295.79
                                                                                             Subtotal:                 295.79


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
01/31                                257,456.22                            02/28                                 257,752.01




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       257,752.01
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                   é   STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                              Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                           Statement Period:    Mar 01 2020-Mar 31 2020
   CLASS 4 RESERVE                                     Cust Ref #:                   4058-701-7-###
   3609 HENDERSON BLVD STE 208                         Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                              Account #            4058
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ì ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 257,752.01                 Average Collected Balance          126,144.08
Other Credits                         154.44                 Interest Earned This Period            154.44
                                                             Interest Paid Year-to-Date             766.03
Electronic Payments               255,000.00                 Annual Percentage Yield Earned         1.45%
Ending Balance                      2,906.45                 Days in Period                             31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                       AMOUNT
03/31            INTEREST PAID                                                                         154.44
                                                                            Subtotal:                  154.44
Electronic Payments
POSTING DATE     DESCRIPTION                                                                       AMOUNT
03/16            eTransfer Debit, Online Xfer                                                   255,000.00
                    Transfer to MMKT        3018

                                                                            Subtotal:           255,000.00


DAILY BALANCE SUMMARY
DATE                                   BALANCE               DATE                                 BALANCE
02/29                             257,752.01                 03/31                                2,906.45
03/16                               2,752.01




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    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,906.45
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
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       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    CLASS 3 RESERVE                                                  Cust Ref #:                     4074-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4074
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                   2,365,809.58                            Average Collected Balance      2,289,583.84
Other Credits                           2,811.82                            Interest Earned This Period        2,811.82
                                                                            Interest Paid Year-to-Date         2,811.82
Electronic Payments                 2,365,809.58                            Annual Percentage Yield Earned       1.46%
Ending Balance                          2,811.82                            Days in Period                           31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              INTEREST PAID                                                                                    2,811.82
                                                                                             Subtotal:              2,811.82
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              eTransfer Debit, Online Xfer                                                                 2,365,809.58
                     Transfer to CK         4123

                                                                                             Subtotal:          2,365,809.58


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
12/31                              2,365,809.58                            01/31                                    2,811.82




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,811.82
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
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                                                                                               on the periodic statement as an easier method for you to calculate the finance
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
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                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    CLASS 3 RESERVE                                                  Cust Ref #:                     4074-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4074
    TAMPA FL 33629




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physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                       2,811.82                            Average Collected Balance               2,811.93
Other Credits                               3.23                            Interest Earned This Period                 3.23
                                                                            Interest Paid Year-to-Date              2,815.05
Ending Balance                          2,815.05                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                29



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/28              INTEREST PAID                                                                                         3.23
                                                                                             Subtotal:                   3.23


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
01/31                                   2,811.82                           02/28                                    2,815.05




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,815.05
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
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    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
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       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               on the periodic statement as an easier method for you to calculate the finance
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                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               é     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Mar 01 2020-Mar 31 2020
   CLASS 3 RESERVE                                   Cust Ref #:                   4074-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           4074
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ í ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                 2,815.05                 Average Collected Balance            2,815.14
Other Credits                         2.97                 Interest Earned This Period              2.97
                                                           Interest Paid Year-to-Date           2,818.02
Ending Balance                    2,818.02                 Annual Percentage Yield Earned         1.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
03/31            INTEREST PAID                                                                       2.97
                                                                          Subtotal:                  2.97


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
02/29                            2,815.05                  03/31                                2,818.02




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                           2,818.02
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
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    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 3
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    GENERAL AND DISBURSEMENTS                                        Cust Ref #:                     4123-719-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4123
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                      31,234.25                            Average Collected Balance             206,460.55
Electronic Deposits                 2,669,605.14                            Interest Earned This Period                 0.00
                                                                            Interest Paid Year-to-Date                  0.00
Electronic Payments                    94,342.96                            Annual Percentage Yield Earned            0.00%
Other Withdrawals                   2,377,459.54                            Days in Period                                31
Service Charges                            30.00
Ending Balance                        229,006.89




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/03              eTransfer Credit, Online Xfer                                                                   30,000.00
                      Transfer from MMKT          3018
01/07              eTransfer Credit, Online Xfer                                                                  268,595.56
                      Transfer from MMKT          3018
01/30              eTransfer Credit, Online Xfer                                                                    5,200.00
                      Transfer from MMKT          3018
01/31              eTransfer Credit, Online Xfer                                                                2,365,809.58
                      Transfer from MMKT          4074

                                                                                             Subtotal:          2,669,605.14




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       229,006.89
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                          STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                              Page:                                  3 of 3
                                                          Statement Period:    Jan 01 2020-Jan 31 2020
                                                          Cust Ref #:                   4123-719-7-###
                                                          Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE      DESCRIPTION                                                                         AMOUNT
01/13             TDBANK BILL PAY CHECK, FTI CONSULTING                                              8,070.85
                    CHECK# 995081
01/14             TDBANK BILL PAY CHECK,                                                             3,885.00
                    BPE&H AN ACCOUNTANCY CORPORATION
                    CHECK# 995080
01/15             TDBANK BILL PAY CHECK,                                                            35,878.13
                    SOLOMON & CRAMER LLP
                    CHECK# 995084
01/15             TDBANK BILL PAY CHECK,                                                            12,875.58
                    KURTZMAN CARSON CONSULTANTS LLC
                    CHECK# 995083
01/16             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                          33,633.40
                    CHECK# 995082

                                                                               Subtotal:            94,342.96
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                         AMOUNT
01/03             WIRE   TRANSFER OUTGOING, Patrick O'brien                                         10,000.00
01/03             WIRE   TRANSFER OUTGOING, First Bank And Trust                                    10,000.00
01/03             WIRE   TRANSFER FEE                                                                   25.00
01/03             WIRE   TRANSFER FEE                                                                   25.00
01/31             WIRE   TRANSFER OUTGOING, Icpw Nevada Trust                                    1,982,359.54
01/31             WIRE   TRANSFER OUTGOING, Radians Inc                                            375,000.00
01/31             WIRE   TRANSFER FEE                                                                   25.00
01/31             WIRE   TRANSFER FEE                                                                   25.00
                                                                               Subtotal:         2,377,459.54
Service Charges
POSTING DATE      DESCRIPTION                                                                         AMOUNT
01/31             MAINTENANCE FEE                                                                         30.00
                                                                               Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                BALANCE                        DATE                              BALANCE
12/31                             31,234.25                        01/15                          249,070.25
01/03                             41,184.25                        01/16                          215,436.85
01/07                            309,779.81                        01/30                          220,636.85
01/13                            301,708.96                        01/31                          229,006.89
01/14                            297,823.96




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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 3
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    GENERAL AND DISBURSEMENTS                                        Cust Ref #:                     4123-719-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        4123
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                     229,006.89                            Average Collected Balance             120,107.47
Electronic Deposits                     4,000.00                            Interest Earned This Period                 0.00
                                                                            Interest Paid Year-to-Date                  0.00
Electronic Payments                   232,722.54                            Annual Percentage Yield Earned            0.00%
Service Charges                            30.00                            Days in Period                                29
Ending Balance                            254.35




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/20              eTransfer Credit, Online Xfer                                                                    4,000.00
                      Transfer from MMKT          3018

                                                                                             Subtotal:              4,000.00
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/13              TDBANK BILL PAY CHECK,                                                                          53,911.99
                      SOLOMON & CRAMER LLP
                      CHECK# 995091
02/13              TDBANK BILL PAY CHECK,                                                                          47,243.85
                      SOLOMON & CRAMER LLP
                      CHECK# 995089
02/13              TDBANK BILL PAY CHECK,                                                                           4,875.00
                      UNITED STATES TRUSTEE
                      CHECK# 995086
02/13              TDBANK BILL PAY CHECK,                                                                              325.00
                      UNITED STATES TRUSTEE
                      CHECK# 995085




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    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                             254.35
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                       STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                           Page:                                  3 of 3
                                                       Statement Period:    Feb 01 2020-Feb 29 2020
                                                       Cust Ref #:                   4123-719-7-###
                                                       Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                      AMOUNT
02/19             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                       75,000.00
                   CHECK# 995090
02/19             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                       43,726.25
                   CHECK# 995088
02/19             TDBANK BILL PAY CHECK, DENTONS LLP                                              7,640.45
                   CHECK# 995087

                                                                            Subtotal:           232,722.54
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
02/28             MAINTENANCE FEE                                                                       30.00
                                                                            Subtotal:                   30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                 BALANCE
01/31                            229,006.89                  02/20                                     284.35
02/13                            122,651.05                  02/28                                     254.35
02/19                             -3,715.65




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                                                                  é          STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                                    Page:                                            1 of 3
   MATTHEW A PLISKIN TRUSTEE                                                 Statement Period:              Mar 01 2020-Mar 31 2020
   GENERAL AND DISBURSEMENTS                                                 Cust Ref #:                             4123-719-7-###
   3609 HENDERSON BLVD STE 208                                               Primary Account #:                                4123
   TAMPA FL 33629




TD Business Premier Checking
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                                                 Account #                   4123
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ


ACCOUNT SUMMARY
Beginning Balance                       254.35                                        Average Collected Balance                           94,533.78
Electronic Deposits                 331,737.14                                        Interest Earned This Period                              0.00
Other Credits                        49,974.07                                        Interest Paid Year-to-Date                               0.00
                                                                                      Annual Percentage Yield Earned                         0.00%
Checks Paid                          49,974.07                                        Days in Period                                             31
Electronic Payments                 331,737.14
Other Withdrawals                        35.00
Service Charges                          30.00
Ending Balance                          189.35



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
03/02            eTransfer Credit, Online Xfer                                                                                          180,320.50
                      Transfer from MMKT            3018
03/12            eTransfer Credit, Online Xfer                                                                                            61,416.64
                      Transfer from MMKT            3018
03/16            eTransfer Credit, Online Xfer                                                                                            90,000.00
                      Transfer from MMKT            3018

                                                                                                             Subtotal:                  331,737.14
Other Credits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
03/26            RETURNED ITEM                                                                                                            49,974.07
                                                                                                             Subtotal:                    49,974.07
Checks Paid      No. Checks: 1     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT
03/25           1156                     49,974.07
                                                                                                             Subtotal:                    49,974.07
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
03/10            TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                                                                 75,000.00
                      CHECK# 995094
03/11            TDBANK BILL PAY CHECK,                                                                                                   75,000.00
                      SOLOMON & CRAMER LLP
                      CHECK# 995095
03/11            TDBANK BILL PAY CHECK, FTI CONSULTING                                                                                    11,859.95
                      CHECK# 995093


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
                                                          Main Document     Page 70 of 84
    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                             189.35
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
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    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
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    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
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    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                       STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                           Page:                                  3 of 3
                                                       Statement Period:    Mar 01 2020-Mar 31 2020
                                                       Cust Ref #:                   4123-719-7-###
                                                       Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                      AMOUNT
03/16             TDBANK BILL PAY CHECK, DENTONS LLP                                             18,460.55
                    CHECK# 995092
03/23             TDBANK BILL PAY CHECK,                                                         75,000.00
                    AMERICAN ARBITRATION ASSOCIATION
                    CHECK# 995099
03/23             TDBANK BILL PAY CHECK,                                                         36,991.74
                    SOLOMON & CRAMER LLP
                    CHECK# 995098
03/23             TDBANK BILL PAY CHECK,                                                         15,000.00
                    AMERICAN ARBITRATION ASSOCIATION
                    CHECK# 995100
03/24             TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                       21,773.50
                    CHECK# 995096
03/25             TDBANK BILL PAY CHECK,                                                          2,651.40
                    KURTZMAN CARSON CONSULTANTS LLC
                    CHECK# 995097

                                                                            Subtotal:           331,737.14
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                      AMOUNT
03/26             OVERDRAFT RET                                                                        35.00
                                                                            Subtotal:                  35.00
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
03/31             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                BALANCE                  DATE                                 BALANCE
02/29                                254.35                  03/23                               24,679.25
03/02                            180,574.85                  03/24                                2,905.75
03/10                            105,574.85                  03/25                              -49,719.72
03/11                             18,714.90                  03/26                                  219.35
03/12                             80,131.54                  03/31                                  189.35
03/16                            151,670.99




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 Case 1:17-bk-12408-MB              Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                          Desc
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    CLASS 1 RESERVE                                                  Cust Ref #:                     9869-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        9869
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                     392,961.54                            Average Collected Balance             392,977.10
Other Credits                             482.61                            Interest Earned This Period               482.61
                                                                            Interest Paid Year-to-Date                482.61
Ending Balance                        393,444.15                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              INTEREST PAID                                                                                       482.61
                                                                                             Subtotal:                 482.61


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
12/31                                392,961.54                            01/31                                 393,444.15




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    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
                                                          Main Document     Page 74 of 84
    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       393,444.15
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
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    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
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    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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                                                                                               You do not have to pay any amount in question while we are investigating, but you
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
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    amount you think is in error, so that you have the use of the money during the time it
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
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                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    CLASS 1 RESERVE                                                  Cust Ref #:                     9869-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        9869
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
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non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                     393,444.15                            Average Collected Balance             393,459.73
Other Credits                             452.03                            Interest Earned This Period               452.03
                                                                            Interest Paid Year-to-Date                934.64
Ending Balance                        393,896.18                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                29



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/28              INTEREST PAID                                                                                       452.03
                                                                                             Subtotal:                 452.03


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
01/31                                393,444.15                            02/28                                 393,896.18




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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       393,896.18
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


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    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
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                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02           Desc
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                                               é     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Mar 01 2020-Mar 31 2020
   CLASS 1 RESERVE                                   Cust Ref #:                   9869-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #            9869
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÝÔßÍÍ ï ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance               393,896.18                 Average Collected Balance          393,909.56
Other Credits                       414.88                 Interest Earned This Period            414.88
                                                           Interest Paid Year-to-Date           1,349.52
Ending Balance                  394,311.06                 Annual Percentage Yield Earned         1.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
03/31            INTEREST PAID                                                                       414.88
                                                                          Subtotal:                  414.88


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
02/29                           393,896.18                 03/31                             394,311.06




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                       394,311.06
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
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                                                                                               included in your total finance charge.
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Jan 01 2020-Jan 31 2020
    TAX RESERVE                                                      Cust Ref #:                     9893-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        9893
    TAMPA FL 33629




Debit Card International Transaction Fee
In your previous deposit account statement we provided a notice of upcoming account changes. The information below corrects
information related to the international transaction fee assessed for Debit Card transactions.

Effective after March 15, 2020 an international transaction fee for TD debit and ATM cards will be assessed when you use a
non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            9893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                      92,561.40                            Average Collected Balance              92,565.06
Other Credits                             113.68                            Interest Earned This Period               113.68
                                                                            Interest Paid Year-to-Date                113.68
Ending Balance                         92,675.08                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
01/31              INTEREST PAID                                                                                       113.68
                                                                                             Subtotal:                 113.68


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
12/31                                  92,561.40                           01/31                                   92,675.08




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,675.08
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
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    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
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                                                                                               You do not have to pay any amount in question while we are investigating, but you
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       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                            é        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:      Feb 01 2020-Feb 29 2020
    TAX RESERVE                                                      Cust Ref #:                     9893-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                        9893
    TAMPA FL 33629




Debit Card International Transaction Fee
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non-TD ATM located outside the U.S. or make a purchase from a merchant outside the U.S. This fee applies whether you're
physically located inside or outside the U.S.
Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                                               Account #            9893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                      92,675.08                            Average Collected Balance              92,678.75
Other Credits                             106.48                            Interest Earned This Period               106.48
                                                                            Interest Paid Year-to-Date                220.16
Ending Balance                         92,781.56                            Annual Percentage Yield Earned            1.46%
                                                                            Days in Period                                29



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                       AMOUNT
02/28              INTEREST PAID                                                                                       106.48
                                                                                             Subtotal:                 106.48


DAILY BALANCE SUMMARY
DATE                                    BALANCE                            DATE                                     BALANCE
01/31                                  92,675.08                           02/28                                   92,781.56




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    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,781.56
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
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    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
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                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
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                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                               é     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Mar 01 2020-Mar 31 2020
   TAX RESERVE                                       Cust Ref #:                   9893-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
×ÝÐÉ Ô×ÏË×ÜßÌ×ÑÒÌÎËÍÌ                                                            Account #           9893
ÓßÌÌØÛÉ ß ÐÔ×ÍÕ×Ò ÌÎËÍÌÛÛ
ÌßÈ ÎÛÍÛÎÊÛ


ACCOUNT SUMMARY
Beginning Balance                92,781.56                 Average Collected Balance           92,784.71
Other Credits                        97.72                 Interest Earned This Period             97.72
                                                           Interest Paid Year-to-Date             317.88
Ending Balance                   92,879.28                 Annual Percentage Yield Earned         1.25%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
03/31            INTEREST PAID                                                                       97.72
                                                                          Subtotal:                  97.72


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
02/29                            92,781.56                 03/31                               92,879.28




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 631 Filed 05/28/20 Entered 05/28/20 07:30:02                                                                 Desc
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    Ø±© ¬± Þ¿´¿²½» §±«® ß½½±«²¬                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Ç±«® »²¼·²¹ ¾¿´¿²½» -¸±©² ±² ¬¸·-
    as follows:                                                          -¬¿¬»³»²¬ ·-æ
                                                                                                                                             Ending                         92,879.28
¡   Í«¾¬®¿½¬ ¿²§ -»®ª·½»- ½¸¿®¹»- -¸±©²                                                                                                      Balance
    ±² ¬¸·- -¬¿¬»³»²¬ò                                              2.   Ô·-¬ ¾»´±© ¬¸» ¿³±«²¬ ±º ¼»°±-·¬- ±®
                                                                         ½®»¼·¬ ¬®¿²-º»®- ©¸·½¸ ¼± ²±¬ ¿°°»¿®
¡   Í«¾¬®¿½¬ ¿²§ ¿«¬±³¿¬·½ °¿§³»²¬-ô                                     ±² ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ¼»°±-·¬-                               Total             +
    ¬®¿²-º»®- ±® ±¬¸»® »´»½¬®±²·½ ©·¬¸ó                                  ¿²¼ »²¬»® ±² Ô·²» îò                                               Deposits
    ¼®¿©¿´- ²±¬ °®»ª·±«-´§ ®»½±®¼»¼ò
¡   ß¼¼ ¿²§ ·²¬»®»-¬ »¿®²»¼ ·º §±« ¸¿ª»                             3.   Í«¾¬±¬¿´ ¾§ ¿¼¼·²¹ ´·²»- ï ¿²¼ îò
    ¿² ·²¬»®»-¬ó¾»¿®·²¹ ¿½½±«²¬ò
                                                                    4.   Ô·-¬ ¾»´±© ¬¸» ¬±¬¿´ ¿³±«²¬ ±º                                     Sub Total
¡   ß¼¼ ¿²§ ¿«¬±³¿¬·½ ¼»°±-·¬ ±®
    ±ª»®¼®¿º¬ ´·²» ±º ½®»¼·¬ò                                            ©·¬¸¼®¿©¿´- ¬¸¿¬ ¼± ²±¬ ¿°°»¿® ±²
                                                                         ¬¸·- -¬¿¬»³»²¬ò Ì±¬¿´ ¬¸» ©·¬¸¼®¿©¿´-
¡   Î»ª·»© ¿´´ ©·¬¸¼®¿©¿´- -¸±©² ±² ¬¸·-                                 ¿²¼ »²¬»® ±² Ô·²» ìò                                                Total    -
    -¬¿¬»³»²¬ ¿²¼ ½¸»½µ ¬¸»³ ±ºº ·² §±«®                                                                                                  Withdrawals
    ¿½½±«²¬ ®»¹·-¬»®ò                                               5.   Í«¾¬®¿½¬ Ô·²» ì º®±³ íò Ì¸·- ¿¼¶«-¬»¼
¡   Ú±´´±© ·²-¬®«½¬·±²- îóë ¬± ª»®·º§ §±«®                               ¾¿´¿²½» -¸±«´¼ »¯«¿´ §±«® ¿½½±«²¬
    »²¼·²¹ ¿½½±«²¬ ¾¿´¿²½»ò                                              ¾¿´¿²½»ò                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
